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                                       No. 19-2546

                 In the United States Court of Appeals
                         for the Seventh Circuit
                                      ERIC WHITE,
                 individually and on behalf of all others similarly situated,
                                     Plaintiff-Appellant,

                                              v.

       UNITED AIRLINES, INC. and UNITED CONTINENTAL HOLDINGS, INC.,
                              Defendants-Appellees.

                    On Appeal from the United States District Court
                           for the Northern District of Illinois
                  Case No.19-cv-00114 (The Hon. Charles R. Norgle, Sr.)

                                  SHORT APPENDIX


 POOJA SHETHJI                                       DEEPAK GUPTA
 OUTTEN & GOLDEN LLP                                 JONATHAN E. TAYLOR
 601 Massachusetts Ave. NW, Suite 200w               PETER ROMER-FRIEDMAN
 Washington, DC 20001                                GUPTA WESSLER PLLC
 (202) 847-4400                                      1900 L Street NW, Suite 312
 pshethji@outtengolden.com                           Washington, DC 20036
                                                     (202) 888-1741
 PAUL W. MOLLICA                                     deepak@guptawessler.com
 OUTTEN & GOLDEN LLP                                 jon@guptawessler.com
 161 North Clark Street, Suite 1600
 Chicago, IL 60601                                   R. JOSEPH BARTON
 (312) 809-7010                                      BLOCK & LEVITON LLP
 pwmollica@outtengolden.com                          1735 20th Street NW
                                                     Washington, DC 20009
                                                     (202) 734-7046
                                                     jbarton@blockesq.com

                                                     Counsel for Plaintiff-Appellant
April 17, 2020                                      (additional counsel listed on inside cover)
      Case: 19-2546    Document: 32   Filed: 04/17/2020   Pages: 103




MATTHEW Z. CROTTY
CROTTY & SON LAW FIRM, PLLC
905 W. Riverside Ave., Suite 404
Spokane, WA 99201
(509) 850-7011
matt@crottyandson.com

THOMAS G. JARRARD
LAW OFFICE OF
THOMAS G. JARRARD LLC
1o20 N. Washington Street
Spokane, WA 99201
(425) 239-7290
tjarrard@att.net
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                                                                             APPEAL,GILBERT,TERMED
                              United States District Court
            Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2 (Chicago)
                    CIVIL DOCKET FOR CASE #: 1:19−cv−00114

White v. United Airlines, Inc. et al                              Date Filed: 01/07/2019
Assigned to: Honorable Charles R. Norgle, Sr                      Date Terminated: 07/10/2019
Case in other court: 19−02546                                     Jury Demand: Both
Cause: 28:1331 Federal Question                                   Nature of Suit: 442 Civil Rights: Jobs
                                                                  Jurisdiction: Federal Question
Plaintiff
Eric White                                       represented by Robert Joseph Barton
                                                                Block & Leviton LLP
                                                                1735 20th Street
                                                                Washington DC, DC 20009
                                                                202−734−7046
                                                                Email: jbarton@blockesq.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                  Matthew Zachary Crotty
                                                                  Crotty & Son Law Firm, PLLC
                                                                  Ste. 404
                                                                  905 W. Riverside Ave
                                                                  Spokane, WA 99201
                                                                  (509) 850−7011
                                                                  Email: matt@crottyandson.com
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

                                                                  Pooja Shethji
                                                                  Outten & Golden LLP
                                                                  601 Massachusetts Avenue NW
                                                                  Suite 200W
                                                                  Washington, DC 20001
                                                                  (202) 847−4400
                                                                  Email: pshethji@outtengolden.com
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

                                                                  Thomas Gregory Jarrard
                                                                  Law Office Of Thomas G. Jarrard
                                                                  1020 N Washington
                                                                  Spokane, WA 99201
                                                                  (425) 239−7290
                                                                  Email: Tjarrard@att.net
                                                                  ATTORNEY TO BE NOTICED

                                                                  Peter Romer−Friedman
                                                                  Gupta Wessler PLLC
                                                                  1900 L St NW, Suite 312
                                                                  Washington, DC 20036
                                                                  (202) 888−1741
                                                                  Email: peter@guptawessler.com
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED


V.
Defendant
United Airlines, Inc.                            represented by
                                               Appx1
         Case: 1:19-cv-00114 As of: 04/16/2020 02:09 PM CDT 2 of 5
      Case: 19-2546   Document: 32        Filed: 04/17/2020 Pages: 103
                                                  Michael J Gray
                                                  Jones Day (CH)
                                                  77 West Wacker Drive
                                                  Chicago, IL 60601
                                                  (312)782−3939
                                                  Email: mjgray@jonesday.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED

                                                  Alice V. Brathwaite
                                                  Jones Day
                                                  77 West Wacker
                                                  Suite 3500
                                                  Chicago, IL 60642
                                                  (312) 269−4109
                                                  Email: abrathwaite@jonesday.com
                                                  TERMINATED: 06/27/2019

                                                  Ann−Marie Woods
                                                  Jones Day (CH)
                                                  77 West Wacker Drive
                                                  Chicago, IL 60601
                                                  (312)782−3939
                                                  Email: awoods@jonesday.com
                                                  ATTORNEY TO BE NOTICED

                                                  Douglas W. Hall
                                                  Jones Day
                                                  51 Louisiana Avenue, NW
                                                  Washington, DC 20001
                                                  (202) 879−5432
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Jennifer Lucia Ralph
                                                  Jones Day
                                                  77 West Wacker Dr.
                                                  Chicago, IL 60657
                                                  (312) 269−4116
                                                  Email: jralph@jonesday.com
                                                  ATTORNEY TO BE NOTICED

Defendant
United Continental Holdings, Inc.     represented by Michael J Gray
                                                     (See above for address)
                                                     LEAD ATTORNEY
                                                     ATTORNEY TO BE NOTICED

                                                  Alice V. Brathwaite
                                                  (See above for address)
                                                  TERMINATED: 06/27/2019

                                                  Ann−Marie Woods
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Douglas W. Hall
                                                  (See above for address)
                                                  PRO HAC VICE
                                                  ATTORNEY TO BE NOTICED

                                                  Jennifer Lucia Ralph
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                    Appx2
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Date Filed   #   Docket Text
01/07/2019    1 COMPLAINT filed by Eric White; Jury Demand. (Romer−Friedman, Peter) (Entered:
                01/07/2019)
01/07/2019    2 CIVIL Cover Sheet (Romer−Friedman, Peter) (Entered: 01/07/2019)
01/07/2019    3 ATTORNEY Appearance for Plaintiff Eric White by Peter Romer−Friedman
                (Romer−Friedman, Peter) (Entered: 01/07/2019)
01/07/2019       CASE ASSIGNED to the Honorable Charles R. Norgle, Sr. Designated as Magistrate
                 Judge the Honorable Jeffrey T. Gilbert. FEE DUE, NO INFORMA PAUPERIS
                 APPLICATION SUBMITTED. Case assignment: Random assignment. (jjr, ) (Entered:
                 01/07/2019)
01/07/2019    4 ATTORNEY Appearance for Plaintiff Eric White by Robert Joseph Barton (Barton,
                Robert) (Entered: 01/07/2019)
01/08/2019       SUMMONS Issued as to Defendants United Airlines, Inc., United Continental
                 Holdings, Inc. (jjr, ) (Entered: 01/08/2019)
01/09/2019    5 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                0752−15349179. (Crotty, Matthew) (Entered: 01/09/2019)
01/09/2019    6 MOTION by Plaintiff Eric White to be Declared Exempt from Filing Fees Under 38
                U.S.C. § 4323(h)(1) (Romer−Friedman, Peter) (Entered: 01/09/2019)
01/09/2019    7 NOTICE of Motion by Peter Romer−Friedman for presentment of motion for
                miscellaneous relief 6 before Honorable Charles R. Norgle Sr. on 1/18/2019 at 10:30
                AM. (Romer−Friedman, Peter) (Entered: 01/09/2019)
01/10/2019    8 ORDER Declaring This Action Exempt from Filing Fees Under 38 U.S.C. §
                4323(h)(1). Signed by the Honorable Charles R. Norgle, Sr on 1/10/2019. Mailed
                notice (lf, ) (Entered: 01/11/2019)
01/18/2019    9 SUPPLEMENT to motion to appear pro hac vice 5 (Crotty, Matthew) (Entered:
                01/18/2019)
02/05/2019   10 WAIVER OF SERVICE returned executed by Eric White. United Continental
                Holdings, Inc. waiver sent on 1/9/2019, answer due 3/11/2019. (Romer−Friedman,
                Peter) (Entered: 02/05/2019)
02/06/2019   11 WAIVER OF SERVICE returned executed by Eric White. United Airlines, Inc. waiver
                sent on 1/9/2019, answer due 3/11/2019. (Romer−Friedman, Peter) (Entered:
                02/06/2019)
02/27/2019   12 ATTORNEY Appearance for Plaintiff Eric White by Thomas Gregory Jarrard (Jarrard,
                Thomas) (Entered: 02/27/2019)
03/11/2019   13 ATTORNEY Appearance for Defendants United Airlines, Inc., United Continental
                Holdings, Inc. by Michael J Gray (Gray, Michael) (Entered: 03/11/2019)
03/11/2019   14 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                0752−15580636. (Hall, Douglas) (Entered: 03/11/2019)
03/11/2019   15 ATTORNEY Appearance for Defendants United Airlines, Inc., United Continental
                Holdings, Inc. by Ann−Marie Woods (Woods, Ann−Marie) (Entered: 03/11/2019)
03/11/2019   16 ATTORNEY Appearance for Defendants United Airlines, Inc., United Continental
                Holdings, Inc. by Alice V. Brathwaite (Brathwaite, Alice) (Entered: 03/11/2019)
03/11/2019   17 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant United
                Airlines, Inc. (Gray, Michael) (Entered: 03/11/2019)
03/11/2019   18 MEMORANDUM by United Airlines, Inc. in support of Motion to Dismiss for Failure
                to State a Claim 17 (Gray, Michael) (Entered: 03/11/2019)
03/11/2019   19 NOTICE of Motion by Michael J Gray for presentment of Motion to Dismiss for
                Failure to State a Claim 17 before Honorable Charles R. Norgle Sr. on 3/15/2019 at

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                 10:30 AM. (Gray, Michael) (Entered: 03/11/2019)
03/11/2019   20 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant United
                Continental Holdings, Inc. (Gray, Michael) (Entered: 03/11/2019)
03/11/2019   21 MEMORANDUM by United Continental Holdings, Inc. in support of Motion to
                Dismiss for Failure to State a Claim 20 (Attachments: # 1 Declaration)(Gray, Michael)
                (Entered: 03/11/2019)
03/11/2019   22 NOTICE of Motion by Michael J Gray for presentment of Motion to Dismiss for
                Failure to State a Claim 20 before Honorable Charles R. Norgle Sr. on 3/15/2019 at
                10:30 AM. (Gray, Michael) (Entered: 03/11/2019)
03/14/2019   23 MINUTE entry before the Honorable Charles R. Norgle: Plaintiff's response to
                Defendants' Motions to Dismiss 17 , 20 are due on or before 3/29/2019. Defendants'
                replies are due on or before 4/5/2019. The parties are not required to appear before the
                court on Friday, March 15, 2019. Mailed notice (ewf, ) (Entered: 03/14/2019)
03/25/2019   24 MOTION by Plaintiff Eric White to amend/correct Scheduling Order (Joint)
                (Romer−Friedman, Peter) (Entered: 03/25/2019)
03/25/2019   25 NOTICE of Motion by Peter Romer−Friedman for presentment of motion to
                amend/correct 24 before Honorable Charles R. Norgle Sr. on 3/29/2019 at 10:30 AM.
                (Romer−Friedman, Peter) (Entered: 03/25/2019)
03/28/2019   26 MINUTE entry before the Honorable Charles R. Norgle: Joint Motion to Amend
                Scheduling Order 24 is granted. The Court approves of the agreed schedule. The
                parties are not required to appear before the court on Friday, March 29, 2019. Mailed
                notice (ewf, ) (Entered: 03/28/2019)
03/29/2019   27 AMENDED complaint by Eric White against United Airlines, Inc., United Continental
                Holdings, Inc. (Romer−Friedman, Peter) (Entered: 03/29/2019)
04/15/2019   28 MOTION by Defendants United Airlines, Inc., United Continental Holdings, Inc. for
                leave to file excess pages (Joint) (Gray, Michael) (Entered: 04/15/2019)
04/15/2019   29 NOTICE of Motion by Michael J Gray for presentment of motion for leave to file
                excess pages 28 before Honorable Charles R. Norgle Sr. on 4/19/2019 at 10:30 AM.
                (Gray, Michael) (Entered: 04/15/2019)
04/18/2019   30 MINUTE entry before the Honorable Charles R. Norgle: Joint motion for leave to file
                briefs in excess of the page limit 28 is granted. The parties are not required to appear
                before the court on Friday, April 19, 2019. Mailed notice (ewf, ) (Entered: 04/18/2019)
04/19/2019   31 MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendants United
                Airlines, Inc., United Continental Holdings, Inc. (Gray, Michael) (Entered:
                04/19/2019)
04/19/2019   32 MEMORANDUM by United Airlines, Inc., United Continental Holdings, Inc. in
                support of Motion to Dismiss for Failure to State a Claim 31 (Attachments: # 1
                Declaration)(Gray, Michael) (Entered: 04/19/2019)
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                United Continental Holdings, Inc. (Gray, Michael) (Entered: 04/19/2019)
05/17/2019   34 MEMORANDUM by Eric White in Opposition to Motion to Dismiss for Failure to
                State a Claim 31 (Romer−Friedman, Peter) (Entered: 05/17/2019)
05/21/2019   35 MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                0752−15850496. (Shethji, Pooja) (Entered: 05/21/2019)
05/31/2019   36 REPLY by Defendants United Airlines, Inc., United Continental Holdings, Inc. to
                Motion to Dismiss for Failure to State a Claim 31 (Gray, Michael) (Entered:
                05/31/2019)
05/31/2019   37 ATTORNEY Appearance for Defendants United Airlines, Inc., United Continental
                Holdings, Inc. by Jennifer Lucia Ralph (Ralph, Jennifer) (Entered: 05/31/2019)
06/04/2019   38 ORDER: Motion to appear pro hac vice 35 is granted. IT IS SO ORDERED. Signed
                by the Honorable Charles R. Norgle, Sr on 6/4/2019. Mailed notice(pk, ) (Entered:
                                          Appx4
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                 06/05/2019)
06/20/2019   39 MOTION by Attorney Alice V. Brathwaite to withdraw as attorney for United
                Airlines, Inc., United Continental Holdings, Inc.. No party information provided
                (Woods, Ann−Marie) (Entered: 06/20/2019)
06/20/2019   40 NOTICE of Motion by Ann−Marie Woods for presentment of motion to withdraw as
                attorney 39 before Honorable Charles R. Norgle Sr. on 6/28/2019 at 10:30 AM.
                (Woods, Ann−Marie) (Entered: 06/20/2019)
06/21/2019   41 MOTION by Plaintiff Eric White for Leave to Submit Supplemental Authorities
                (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Romer−Friedman, Peter) (Entered:
                06/21/2019)
06/21/2019   42 NOTICE of Motion by Peter Romer−Friedman for presentment of motion for
                miscellaneous relief 41 before Honorable Charles R. Norgle Sr. on 6/28/2019 at 10:30
                AM. (Romer−Friedman, Peter) (Entered: 06/21/2019)
06/27/2019   43 MINUTE entry before the Honorable Charles R. Norgle: Motion to withdraw as
                attorney 39 is granted. Plaintiff's Motion for Leave to Submit Supplemental
                Authorities 41 is granted. Defendant may supplement their pleadings by July 24, 2019.
                The parties are not required to appear before the court on Friday, June 28, 2019.
                Attorney Alice V. Brathwaite terminated.Mailed notice (ewf, ) (Entered: 06/27/2019)
07/10/2019   44 ORDER: The pending motions to appear pro hac vice 5 and 14 are granted.
                Defendants' motions to dismiss 17 and 20 filed before Plaintiff's amended complaint
                are denied as moot. Defendants' operative motion to dismiss 31 is granted. The case is
                dismissed with prejudice. The Clerk is directed to enter judgment in favor of
                Defendants pursuant to Fed. R. Civ. P. 58. Signed by the Honorable Charles R. Norgle,
                Sr on 7/10/2019. Mailed notice(pk, ) (Entered: 07/12/2019)
07/10/2019   45 ENTERED JUDGMENT. Mailed notice(pk, ) (Entered: 07/12/2019)
08/09/2019   46 NOTICE of appeal by Eric White regarding orders 45 Filing fee $ 505, receipt number
                0752−16125292. Receipt number: n (Romer−Friedman, Peter) (Entered: 08/09/2019)
08/09/2019   47 DOCKETING Statement by Eric White regarding notice of appeal 46
                (Romer−Friedman, Peter) (Entered: 08/09/2019)
08/12/2019   48 NOTICE of Appeal Due letter sent to counsel of record regarding notice of appeal 46
                (pk, ) (Entered: 08/12/2019)
08/12/2019   49 TRANSMITTED to the 7th Circuit the short record on notice of appeal 46 . Notified
                counsel (pk, ) (Entered: 08/12/2019)
08/12/2019   50 ACKNOWLEDGMENT of receipt of short record on appeal regarding notice of
                appeal 46 ; USCA Case No. 19−2546 (pk, ) (Entered: 08/12/2019)
08/23/2019   51 REQUEST for Clerk of Court to refund filing fee in the amount of $505, receipt no.
                0752−16125292, (Romer−Friedman, Peter) (Entered: 08/23/2019)
08/27/2019   52 SEVENTH CIRCUIT transcript information sheet by Eric White (sxb, ) (Entered:
                08/28/2019)




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


  ERIC WHITE, on behalf of himself and
  all others similarly situated,                        Case No. 19-cv-00114

                                 Plaintiff,             AMENDED CLASS ACTION
                                                        COMPLAINT
            v.
                                                        JURY TRIAL DEMANDED
  UNITED AIRLINES, INC. and UNITED
  CONTINENTAL HOLDINGS, INC.,                           Exempt From Filing Fees Under
                                                        38 U.S.C. § 4323(h)(1)
                                 Defendants,



       Plaintiff Eric White, on behalf of himself and other similarly situated individuals, by and

through his attorneys, alleges as follows:

                                       INTRODUCTION

       1.        This is a class action under the Uniformed Services Employment and

Reemployment Rights Act (“USERRA”), 38 U.S.C. § 4301 et seq., on behalf of current and

former employees of United Continental Holdings, Inc. (“UCH”) and United Airlines, Inc.

(“UAL”) (collectively, “Defendants” or “United”), who took short-term military leave during

their employment but were not paid their normal wages or salaries by Defendants during such

periods of military leave as required by USERRA, and/or did not receive credit under the United

Continental Holdings, Inc. Profit Sharing Plan (“the Profit Sharing Plan” or “the Plan”) for

periods of military leave as required by USERRA.

       2.        USERRA protects the rights of servicemembers who take leaves of absence from

their civilian employers to perform qualified military service. USERRA § 4316(b) requires

military leave to be treated no less favorably than other, comparable forms of leave with respect




                                              Appx6
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to the rights and benefits that employees receive during their leaves of absence. Since at least

January 1, 2006, Defendants violated this provision in two ways.

       3.         First, Defendants had a policy and practice of continuing to pay their employees’

regular wages or salaries during certain leaves-of-absence (such as jury duty and sick leave), but

not paying regular wages or salaries to employees when they take short-term military leave. By

paying employees when they took jury duty leave, sick leave, and other comparable forms of

non-military leave, Defendants were required by USERRA to do the same for their employees

who took short-term military leave. By failing to pay wages and salaries to military service

members during their short-term military leave, while continuing to pay employees their wages

or salaries during periods of jury duty, sick leave, and other comparable forms of non-military

leave, Defendants violated USERRA’s mandate to treat military leave no less favorably than

other comparable forms of non-military leave.

       4.         Second, Defendants failed to credit employees’ military leave for the purpose of

calculating such employees’ profit sharing awards under the Plan. By doing so, Defendants

violated USERRA § 4318, which requires all employee pension benefit plans – like United’s

profit sharing plan – to treat military service as continued service for an employer. In addition,

because Defendants did not give profit sharing credit to employees who took short-term military

leave but gave credit for the purpose of the profit sharing plan to employees when they took

comparable forms of non-military leave such as sick leave and jury duty, Defendants violated

USERRA § 4316(b), which requires that employees who take military leave receive the same

rights and benefits, including profit sharing, as employees who take comparable forms of non-

military leave.




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       5.      As a result of these violations, Plaintiffs and other servicemembers employed by

Defendants received less compensation than they would have received if Defendants had

provided them with paid leave during periods of short-term military leave. In addition, Plaintiff

and other servicemembers who were participants in the Profit Sharing Plan received smaller

profit sharing awards than they otherwise would have received if they had been paid during

military leave or if the Profit Sharing Plan had credited their military leave for the purposes of

calculating profit sharing awards.

       6.      This action seeks a declaration that Defendants violated USERRA by failing to

pay Plaintiff and members of the proposed Class during their periods of short-term military

leave, a declaration that Defendants violated USERRA by failing to credit employees’ short-term

military leave and long-term military leave for the purpose of calculating their profit sharing

awards, an order requiring Defendants to pay employees when they take short-term military

leave in the future so long as Defendants provide pay to employees when they take other

comparable forms of non-military leave, an order requiring Defendants to credit employees’

military service for the purposes of calculating their profit sharing awards in the future, an order

requiring Defendants to pay Plaintiff and members of the Class the wages or salaries they should

have earned during their periods of short-term military leave since 2006, and an order requiring

Defendants to recalculate and pay Plaintiff and members of the Class the profit sharing awards

they received since 2006, consistent with the requirements of USERRA.

                                 JURISDICTION AND VENUE

       7.       This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331, because this action arises under USERRA, a law of the United States. This Court has

subject matter jurisdiction over the USERRA claim pursuant to 38 U.S.C. § 4323(b)(3), which




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provides the district courts of the United States with jurisdiction over any USERRA action

brought against a private employer.

        8.      Venue is proper in this District under 38 U.S.C. § 4323(c)(2), because Defendants

are the private employers of Plaintiff and maintain a place of business in at least two locations in

this District. Both United Continental Holdings, Inc. and United Airlines, Inc. have their

corporate headquarters at 233 S. Wacker Drive, Chicago, IL 60606. In addition, United Airlines

maintains one of its hubs at Chicago’s O’Hare International Airport, where it employs thousands

of employees. Venue is also proper in this District pursuant to 28 U.S.C. § 1391(b)(2), as a

substantial part of the events giving rise to the claims in this action occurred in this District.

                                              PARTIES

        9.      Plaintiff Eric White is and has been employed as a pilot by Defendants or their

predecessor companies since 2005. White was a pilot at Continental Airlines from 2005 to 2010,

and became a United Airlines pilot in 2010, when Continental Airlines was acquired by UAL

Corporation. As part of the merger, UAL Corporation changed its name to United Continental

Holdings, Inc. White currently serves as a First Officer flying 787 passenger airplanes for

United. During his career at United, White has routinely flown to and from Chicago’s O’Hare

International Airport in this District. Since 2000, White has served continuously as a pilot in the

Air Force, including on active duty and on reserve duty. During his employment with

Defendants, White has routinely taken military leave, including numerous periods of short-term

military leave and long-term military leave. White resides in Ladera Ranch, California.

        10.     Defendant United Continental Holdings, Inc. (“UCH”) is a publicly traded

company and is a holding company. Its principal, wholly-owned subsidiary is United Airlines,

Inc. UCH is and has been incorporated under the laws of the State of Delaware since December




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30, 1968. UCH’s corporate headquarters and principal executive office is located at 233 South

Wacker Drive, Chicago, Illinois 60606. UCH is the sponsor of the Plan. Defendant UCH is also

a private employer within the meaning of the 38 U.S.C. § 4303(4)(A), and 20 U.S.C. §

1002.5(d)(1), because, UCH has “control over employment opportunities” at its wholly-owned

subsidiary, United Airlines and because UCH subsidiaries and affiliates have delegated the

performance of employment-related responsibilities, specifically profit sharing awards, to UCH

which UCH provides through the Profit Sharing Plan.

       11.     Defendant United Airlines, Inc. (“UAL”) is a wholly owned subsidiary of UCH.

Defendant UAL is an employer within the meaning of 38 U.S.C. § 4303(4)(A), because it “pays

salary or wages for work performed” and has “control over employment opportunities” of its

employees, including Plaintiff.

                              CLASS ACTION ALLEGATIONS

       12.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of the following Classes:

       (1)     The Paid Leave Class: Current or former employees of United Continental

               Holdings, Inc., United Airlines, Inc., Continental Airlines, Inc., and/or any of their

               subsidiaries or predecessors, who during their employment with any of these

               entities took short-term military leave from their employment and during such

               short-term military leave were not paid the wages or salary that they would have

               earned had they continued to work their ordinary work schedules from January 1,

               2006, through the date of judgment in this action.

        (2)    The Profit Sharing Class: Qualified Employees under the United Continental

               Holdings, Inc. Profit Sharing Plan who took short-term military leave or long-




                                                 5
                                            Appx10
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               term military leave from their employment with an Employer under the Plan

               during a Plan Year in which they were eligible to receive an award under the Plan

               (or would have been eligible to receive an award under the Plan if their earnings

               associated with their military leave had been credited), from January 1, 2006,

               through the date of judgment in this action.

Excluded from the Classes are any members of the Committee who were responsible for

administering the Profit Sharing Plan, any person to whom UCH and/or the Committee delegated

authority to manage or control the administration of the Plan, and all former or current

employees who previously reached settlements with or judgments against Defendants in

USERRA actions concerning United’s failure to pay wages or salaries during periods of short-

term military leave and United’s failure to credit employees’ military service for the purposes of

calculating profit sharing awards.

Impracticality of Joinder

       13.     The members of the Classes are so numerous that joinder of all members of the

proposed Classes is impracticable. According to Defendants’ 2017 Annual Report, as of

December 31, 2017, Defendants employed 89,800 employees, including 11,492 pilots, 22,676

flight attendants, 13,299 passenger service employees, 13,187 fleet service employees, 9,535

technicians, 1,000 storekeeper employees, and 402 dispatchers. According to Defendants’

website, https://united-veterans.jobs/, “United has many employees who have proudly served in

the military, and some who continue to serve in the reserve components.” And Defendants’ web

site states that they actively recruit members of the military as employees. Based on these

statements, at least several thousand former and current employees of Defendants are members

of each of the Classes.




                                                6
                                            Appx11
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       14.     According to United’s Corporate Fact Sheet, https://hub.united.com/corporate-

fact-sheet/, United Airlines serves 231 airports in the United States of which six are hubs

(Chicago, Denver, Houston, Los Angeles, Newark, San Francisco and Washington-Dulles), plus

125 international destinations. Based on the varied locations of Defendants’ employees, the

members of the Classes are geographically dispersed across the United States, if not the world.

Commonality

       15.     The central questions in this case, which will generate common answers, are (1)

whether Defendants’ policy or practice of failing to pay their employees’ wages and/or salaries

during periods of short-term military leave violates USERRA § 4316, and whether (2)

Defendants’ policy of failing to credit military service for the purposes of calculating profit

sharing awards violated USERRA § 4316 and USERRA § 4318.

       16.     Plaintiff’s claims raise subsidiary common questions, including the following:

               (a)     whether Defendants maintain a policy or practice of refusing to pay their

               employees when they take short-term military leave, while paying employees

               when they take other forms of comparable leave;

               (b)     whether short-term military leave is comparable to jury duty, sick leave,

               and other forms of non-military leave for which Defendants have provided wages,

               salaries, and/or profit sharing to their employees;

               (c)     whether USERRA § 4316(b) requires Defendants to provide the same

               rights and benefits to employees who take short-term military leave as other

               comparable forms of non-military leave, including pay or salaries and profit

               sharing awards.




                                                  7
                                             Appx12
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               (d)      whether Defendants are and were required by USERRA § 4318 to credit

               all military service for the purposes of calculating profit sharing awards; and

               (e)     whether Defendants’ violations of USERRA were willful, such that they

               should be required to pay liquidated damages to Plaintiff and the members of the

               proposed Classes.

       17.     Because Defendants adopted and applied uniform policies or practices of not

paying employees when they take short-term military leave and failing to credit all military

service for the purposes of calculating profit sharing awards, answers to these questions will

produce common answers for all members of the Class. As Defendants acted in a uniform,

systematic manner with respect to both Classes, all members of each Class suffered the same

type of injury based on the same policies or practices, and resolving their claims will be based on

common legal and factual questions

       18.     Defendants’ policy or practice of refusing to pay employees when they take short-

term military leave, while paying employees when they take other comparable forms of non-

military leave, was applied uniformly to the Paid Leave Class, the issues relating to the relief that

Class Members should receive will be common. Likewise, because Defendants’ policy or

practice of failing to credit all military service for the purposes of calculating profit sharing

awards was applied uniformly to the Profit Sharing Class, the issues relating to the relief Class

members should receive will be common. To the extent that any of these policies or practices

are found to violate USERRA, the determination of the amounts to be paid to members of each

Class will be formulaic and can be readily calculated pursuant to a common formula.




                                                   8
                                              Appx13
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Typicality

        19.     Plaintiff’s claims are typical of the other members of both Classes, because the

claims challenge uniform policies or practices by which Defendants failed to pay employees

when they take short-term military leave and failed to credit employees’ military service for the

purposes of calculating profit sharing awards, while paying employees and crediting their

earnings when they take other, comparable forms of leave. In addition, Plaintiff and the Class

Members were all injured by the same uniform policies or practices.

Adequacy

        20.     Plaintiff will fairly and adequately protect the interests of other members of both

Classes.

        21.     Plaintiff does not have any conflict with any other member of either Class.

Plaintiff understands his obligations as a class representative, has already undertaken steps to

fulfill them, and is prepared to continue to fulfill his duties as class representative.

        22.     Defendants have no unique defenses against the Plaintiff that would interfere with

Plaintiff’s representation of the Classes.

        23.     Plaintiff is represented by counsel with significant experience in prosecuting class

action litigation, including class action litigation involving rights and benefits of servicemembers

under USERRA.

Rule 23(b)(1)

        24.     This action can be maintained as a class action under Rule 23(b)(1)(A) of the

Federal Rules of Civil Procedure. The central questions are whether the uniform policies or

practices by which Defendants failed to pay their employees when they take short-term military

leave and failing to credit military service for the purposes of calculating profit sharing awards




                                                   9
                                              Appx14
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violates USERRA. As a result, prosecution of separate claims by individual members as to the

legality of the same policy would create the risk of inconsistent or varying adjudications that

would establish incompatible standards of conduct.

       25.      This action can be maintained as a class action under Rule 23(b)(1)(B) of the

Federal Rules of Civil Procedure. As a practical matter, resolution of whether Defendants were

required under USERRA to pay employees when they take short-term military leave and credit

military service for the purposes of calculating profit sharing awards would be dispositive of that

matter for other employees even if they were not parties to this litigation and would substantially

impair or impede their ability to protect their interests if they are not made parties to this

litigation by being included in the Classes.

Rule 23(b)(2)

       26.      This action can also be maintained as a class action under Rule 23(b)(2) of the

Federal Rules of Civil Procedure. Defendants have acted and/or failed to act on grounds

generally applicable to each Class, making declaratory and injunctive relief appropriate with

respect to the Class as a whole.

       27.      Defendants maintained uniform policies or practices as to all members of each

Class. Defendants are alleged to have violated USERRA by refusing to pay employees when

they take short-term military leave and/or failing to credit employees’ military service for the

purposes of calculating profit sharing awards. As such, Defendants have acted or refused to act

on grounds that apply generally to the Class. As a result, final declaratory and injunctive relief is

appropriate respecting the Class as a whole.

       28.      The relief sought consists primarily of (a) a declaration establishing that

Defendants have violated USERRA by failing to pay employees when they take short-term




                                                  10
                                               Appx15
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military leave and failing to credit military service for the purposes of calculating profit sharing

awards, (b) an order requiring Defendants to pay the Paid Leave Class Members the wages or

salaries that they should have received during their periods of short-term military leave,

consistent with USERRA, and (c) an order requiring Defendants to recalculate and pay the Profit

Sharing Class Members the profit sharing awards they would have received had their military

leave been credited. The monetary relief sought either flows from and/or is incidental to the

declaratory relief sought, as it flows directly from the ordering of such declaratory relief and can

be calculated in a simple, objective, and mechanical manner. Specifically, the amount owed to

the Class Members can be calculated by identifying the wages or salaries the Class Members

would have received during their periods of short-term military leave, and by identifying the

profit sharing awards they would have received had their military leave been credited.

Rule 23(b)(3)

       29.      This action can also be maintained as a class action under Rule 23(b)(3) of the

Federal Rules of Civil Procedure, because the questions of law and fact common to the members

of the Class predominate over questions affecting only individual members, and a class action is

superior to other available methods for the fair and efficient resolution of this controversy.

       30.      The common questions of law and fact concern whether Defendants’ policies or

practices of failing to pay employees when they take short-term military leave and failing to

credit military service for the purposes of calculating profit sharing awards violated USERRA.

As the Class Members were all employees of Defendants who took military leave and had their

compensation or profit sharing reduced by Defendants’ violations, common questions related to

Defendants’ liability will necessarily predominate over any individual questions.




                                                 11
                                             Appx16
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       31.     Because the calculation of Class Members’ wages and/or salaries during periods

of short-term military leave and proper profit sharing awards can be readily calculated based on

their wage and/or salary rates and the relevant profit sharing award calculations, and because the

relief primarily consists of a declaration and an order requiring Defendants to pay the Class

Members the wages or salaries they are owed and/or the profit sharing awards they are owed

consistent with USERRA, common questions as to remedies will predominate over any

individual issues.

       32.     A class action is superior to other available methods for the fair and efficient

resolution of this controversy. By resolving the common issues in a single class proceeding, the

issues will be efficiently resolved in a single proceeding rather than multiple proceedings. Class

certification is a superior method of proceeding here, because it will obviate the need for unduly

duplicative litigation that might result in inconsistent judgments about Defendants’ obligations

under USERRA and of the remedy that should be provided under USERRA.

       33.     Additional factors set forth in Rule 23(b)(3) also support certification.

               (a)    The members of each Class have an interest in a unitary adjudication of

               the issues presented in this action for the same reasons why this case should be

               certified under Rule 23(b)(1). Additionally, many members of the Classes are

               unlikely to have sufficient damages to justify pursuing an individual action in

               federal court or obtain counsel to pursue an individual action. But all Class

               Members would benefit from a class action that obtains relief for all members of

               the Classes.

               (b)    No other litigation concerning claims that Defendants should have paid

               their employees when they take short-term military leave or that Defendants




                                                12
                                            Appx17
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               should have credited employees’ military leave for the purposes of calculating

               profit sharing awards has been filed by any other members of the Classes.

               (c)     This is an appropriate forum for these claims because, among other

               reasons, jurisdiction and venue are proper, Chicago is the corporate headquarters

               for both Defendants. As Chicago O’Hare Airport is a hub for United Airlines and

               one of its busiest hubs by departures and arrivals, a significant portion of the

               Classes work and/or reside in this District.

               (d)     There are no difficulties in managing this case as a class action.

                                   FACTUAL ALLEGATIONS

Defendants’ Policy Regarding Military Leave

       34.     When an employee of Defendants is required to be absent from his or her

employment for one of a number of reasons (unrelated to military leave), including that the

employee is required to perform jury service or has fallen ill, Defendants continue to pay the

employee’s wages and/or salary during his or her absence from work. However, Defendants do

not continue to pay an employee’s wages and/or salary when the employee takes short-term

military leave (i.e., military leave that lasts no more than 30 days).

       35.     Since at least 2010, and upon information and belief since January 1, 2006,

Defendants have maintained a policy or practice of refusing to pay employees their wages or

salaries when they take short-term military leave, while continuing to pay employees their wages

or salaries when they take other comparable forms of non-military leave, such as jury duty and

sick leave.




                                                  13
                                              Appx18
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Defendants’ Control and Roles In Setting Policy Regarding Wages & Benefits

       36.     UAL is and has been a party to, and is and has been bound by, collective

bargaining agreements (“CBAs”) that cover the vast majority of employees of UAL and/or

Continental Airlines, Inc., including a significant number of the members of the Classes. For the

employees covered by those CBAs, these CBAs establish the wages, benefits, and other terms

and conditions of employment for employees, including the wages and benefits of employees

when they take short-term and long-term military leave, jury duty leave, and sick leave.

       37.     The primary high-level executives of UCH and of UAL have exercised control

over the wages and benefits of the employees of UAL and Continental Airlines, Inc. and over the

collective bargaining negotiations that set such wages and benefits, including because the UCH

executives responsible for such negotiations and execution of such CBAs have had the same

positions and roles at both UCH and UAL and/or Continental Airlines, Inc. For example, UCH

and UAL have the same Chief Executive Officer (Oscar Munoz), President (J. Scott Kirby),

Executive Vice President and Chief Commercial Officer (Andrew Nocella), Executive Vice

President for Human Resources and Labor Relations (Kate Gebo), Executive Vice President and

Chief Administrative Officer and General Counsel (Brett Hart), Executive Vice President and

Chief Operations Officer (Gregory Hart), and Vice President and Controller (Christopher

Kenny), each of whom serves in the same role and function at both UCH and UAL.

       38.     The high-level executives who negotiated and/or executed the CBAs with the

unions that represent the employees at UAL and Continental Airlines, Inc. have concurrently

served as labor relations executives of UCH, UAL, and/or Continental Airlines, Inc. Executives

with high-level or officer positions at UCH signed the CBAs for the following employee groups:

Flight Attendants, Fleet Service, Passenger Service, Pilots, Technicians and Related & Flight




                                               14
                                           Appx19
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Simulator Technicians, Storekeeper Employees, Fleet Tech Instructors, Load Planners, Security

Officers, and Maintenance Instructors. By having its high-level executives negotiate and sign

the CBAs that cover the employees of UAL and Continental Airlines, Inc., both UCH and UAL

had the authority to determine and did determine the terms of employees’ wages and benefits,

including whether to provide employees their regular wages or salaries when they took short-

term military leave, jury duty leave, or sick leave. Through those negotiations by its high-level

executives, UCH made the decision not to pay regular wages or salaries of employees who take

short-term military leave while providing regular wages or salaries to employees who take jury

duty leave or sick leave.

       39.     In connection with the collective bargaining agreement (“CBA”) between United

Airlines, Inc. and the Air Line Pilots Association International, the union that represents the

pilots of United Airlines, Inc.—the CBA that that applies to Plaintiff White’s wages, benefits,

and other terms of employment—Defendant UCH agreed that it is an Affiliate of UAL and that it

is bound by Section 1 of the Agreement in the same manner as UAL. By doing so, Defendant

UCH has acknowledged that it has control over the wages, benefits, and terms of employment of

at least the employees of United Airlines, Inc. and/or Continental Airlines, Inc. who are covered

by this CBA.

       40.     The First Amendment to the UCH Profit Sharing Plan, which is attached to the

Declaration of Lincoln Lounsberry (ECF No. 21-1 in this action) further evidences UCH’s role

in negotiating the wages and benefits of UAL employees. The First Amendment sets forth that

“the Company [defined as UCH in the Amendment] has reached joint collective bargaining

agreements and certain other agreements with various represented employee groups,

necessitating certain changes to [the terms of the Plan].” (emphasis added).




                                                 15
                                             Appx20
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       41.     The Declaration of Lincoln Lounsberry (ECF No. 21-1) also illustrates that UCH

and UAL have overlapping control over wages and benefits that are not negotiated with the

unions. In his declaration, Lounsberry recites that he is an employee of UAL in its Senior

Managing Counsel – Benefits. Even though he is apparently only an employee of UAL and not

UCH, he was responsible for drafting and amending the Profit Sharing Plan sponsored by UCH

and advising “the company” as to its administration. As the Profit Sharing Plan provides that

UCH has responsibility for administration under the terms of the Profit Sharing Plan, “the

company” must at least mean UCH, if not also UAL.

       42.     As a party to and by negotiating the employees’ CBAs and other agreements

covering employees at UAL and Continental Airlines, Inc. and by jointly setting the terms of

non-negotiated wages, benefits, and other terms of employment for non-union employees, UCH

and UAL through its overlapping high-level executives and officers had the authority to

determine and, in fact, did determine whether to provide employees their regular wages or

salaries when they took short-term military leave, jury duty leave, or sick leave.

USERRA Required Defendants to Pay Employees Who Took Short-Term Military Leave,
Because They Paid Employees Who Took Other Comparable Forms of Non-Military Leave

       43.     USERRA § 4316(b) provides in relevant part that “a person who is absent from a

position of employment by reason of service in the uniformed services shall be”

       (A) deemed to be on furlough or leave of absence while performing such service; and

       (B) entitled to such other rights and benefits not determined by seniority as are
       generally provided by the employer of the person to employees having similar
       seniority, status, and pay who are on furlough or leave of absence under a
       contract, agreement, policy, practice, or plan in effect at the commencement of
       such service or established while such person performs such service.

38 U.S.C. § 4316(b)(1).




                                                16
                                            Appx21
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       44.     Accordingly, if an employer provides non-seniority rights and benefits to

similarly situated employees, including compensation, USERRA § 4316(b) requires the

employer to provide the same rights and benefits to employees during their military leave. See

id.; 20 C.F.R. § 1002.150(a).

       45.     As the USERRA regulations explain, the “most significant factor to compare” two

types of leave to determine if they are a “comparable form of leave” is “the duration of the

leave.” 20 C.F.R. § 1002.150(b). “[O]ther factors such as the purpose of the leave and the

ability of the employee to choose when to take the leave should also be considered.” Id.

       46.     Pursuant to their policy and practice of refusing to pay employees their regular

wages or salaries during periods of short-term military leave, Defendants failed to pay Plaintiff

and the Class Members their regular wages or salaries during each period in which they took

short-term military leave.

       47.     Upon information and belief, since January 1, 2006, Defendants paid their

employees their regular wages or salaries while they were on leave from their employment

because of jury duty and sick leave.

       48.     Jury duty and sick leave are comparable to short-term military leave in terms of

the duration of these forms of leave and in terms of the involuntary nature of the leave.

       49.     For Defendants’ employees, the duration of jury duty and sick leave is

comparable to the duration of short-term military leave. Each of these types of leaves commonly

lasts several days, and usually not more than a couple of weeks.

       50.     Like jury duty and sick leave, short-term military leave is ordinarily involuntary.

Jury duty is required by federal, state, or local law. Sick leave occurs due to a short-term,

involuntary medical condition that prevents the employee from working. And short-term




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                                             Appx22
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military leave occurs due to an employee-servicemember’s obligation to perform military service

in the Armed Forces.

       51.     In addition, the purpose of jury duty is the same as short-term military leave: to

perform service for our government and engage in public service for the benefit of our society.

       52.     Defendants’ policy or practice of refusing to pay employees their wages or

salaries when they take short-term military leave, and continuing to pay employees their wages

or salaries when they take other comparable forms of non-military leave violates USERRA §

4316(b), because it denies Defendants’ employees a non-seniority right or benefit that is

provided to similarly situated employees who are on furlough or leave of absence. 38 U.S.C. §

4316(b).

       53.     This policy or practice has unlawfully denied Defendants’ employees the wages

or salaries that they should have received when they engaged in short-term military leave

compared to employees who received wages or salaries when they engaged in jury duty, sick

leave, or other comparable forms of non-military leave.

United’s Profit Sharing Plan Credits Employees’ Non-Military Leave in Making Profit
Sharing Awards But Fails to Credit Employees’ Comparable Military Leave

       54.     Defendant UCH sponsors the United Continental Holdings, Inc. Profit Sharing

Plan (“the Plan”) for the benefit of employees of UAL, Continental Airlines, and other Affiliates

in which Defendant UCH owns or controls at least an 80% interest.

       55.     Many of the terms of the Plan are and have been since January 1, 2016 been set

forth in a written document entitled the “United Continental Holdings, Inc. Profit Sharing Plan

Amended and Restated Effective January 1, 2016,” which is referred to as “the Plan” but for

purposes of clarity will be referred to as the 2016 Plan Document. According to Section VI.C of

the 2016 Plan Document, other terms of the Plan are set forth in the Plan Rules, Plan



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Administration and collective bargaining agreements. Plaintiff has not been provided with a

written copy of the Plan Rules or Plan Administration.

       56.     The Plan commenced on January 1, 2006, as the UAL Corporation Success

Sharing Program – Profit Sharing Plan, and was amended effective January 1, 2011 and on

January 1, 2014. Upon information and belief, the relevant terms of the Plan have not materially

changed since 2006.

       57.     Section I.A. of the 2016 Plan Document sets forth the “Purpose” of the Plan,

which explains that UCH sponsors the Plan “for benefit of certain employees of United Air

Lines, Inc., Continental Airlines, Inc. and other participating Affiliates.”

       58.     Section I.B. of the Plan Document that with respect to “employees covered by a

collective bargaining agreement with the Employer (including UAL) pursuant to which the

Employer has agreed to provide” such employees “with participation in a profit sharing bonus

plan, this Plan is maintained pursuant to [the collective bargaining] agreement.” Section 1.E

further provides that that with respect to the “employees covered by a collective bargaining

agreement with the Employer” the Plan is “subject to termination pursuant to the terms of the

collective bargaining agreement.” These provisions explain that the Employers (i.e., UAL and

Continental Airlines, Inc. and other Affiliates) have delegated to UCH the responsibility to

provide profit sharing benefits that these Employers are contractually obligated to provide

pursuant to the CBAs. To fulfill that delegated obligation, UCH established, maintains and

administers this Profit Sharing Plan, and its Sponsor, UCH, the authority to and role of managing

employees’ profit sharing benefits.

       59.     Section IV.A of the 2016 Plan Document provides that Defendant UCH or its

delegate and as to certain matters, the Compensation Committee of the Board of Directors of




                                                 19
                                             Appx24
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UCH (or another committee appointed by the Board of UCH), has authority and responsibility to

manage and control the administration of the Plan.

       60.     Pursuant to Section III.C.5 of the 2016 Plan Document, UCH has delegated the

authority to determine – other than those items specifically listed on Appendix A – whether an

item of compensation is included or excluded from the definition of Wages under the Plan to the

UCH Executive Vice President – Human Resources and Labor Relations. From at least

December 2010 through December 2017, the Executive Vice President – Human Resources and

Labor Relations was Michael P. Bonds. Based on the First Amendment to the Plan, which was

signed by Kate Gebo as UCH Executive Vice President – Human Resources and Labor

Relations, Gebo succeeded Bonds as UCH Executive Vice President – Human Resources and

Labor Relations.

       61.     Pursuant to Section I.C and I.F of the 2016 Plan Document, Qualified Employees

(i.e., those employees who are qualified to receive profit sharing under the Plan) are Domestic

Employees, which means any regular full-time or part-time U.S. employee (and certain

international based employees) of United Airlines, Inc., Continental Airlines, Inc., Continental

Micronesia, Mileage Plus, Inc., and several other Affiliates in which UCH owns or controls a

greater than 80% interest, who have completed a year of service as of December 31 of the year

for which profit sharing is awarded.

       62.     Section V.A. of the Plan Document provides that “[t]he Plan may at any time be

amended, modified, suspended or terminated, as [Defendant UCH] in its sole discretion

determines.”

       63.     Sections III.A and III.B of the 2016 Plan Document provide that if Defendant

UCH’s pre-tax Profit for a certain year exceeds a threshold—which in the 2016 Plan Document




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                                            Appx25
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is $10 million—then Defendant UCH will make profit sharing awards to eligible employees

based on a formula that takes into account the “Wages” each employee earned during that year in

relation to the total “Wages” of all eligible employees, as well as the employee’s occupation or

labor group. For example, pilots and flight attendants’ Wages are given twice as much weight or

credit as the Wages of customer service employees or storekeeper employees.

       64.     Section III.C of the 2016 Plan Document sets forth what compensation is included

in the term “Wages,” and Appendix A-1 sets forth a list of certain compensation that is

specifically included in the definition of “Wages” under the Plan. Appendix A-2 sets forth a list

of certain compensation that is specifically excluded from the definition of “Wages” under the

Plan. While neither jury duty nor military leave is specifically addressed in the 2016 Plan

Document, given the longstanding practice by UCH of crediting jury duty leave as “Wages”

under the Plan (and paying employees who take jury duty), but not crediting military leave, and

based on the procedures and practices of UCH, the practices under the Plan constitute UCH

policy since at least 2006.

       65.     Pursuant to Section III.C.1 and III.C.2 of the Plan and Appendix A, Wages under

the Plan include the compensation that employees receive when they take non-military leaves of

absence such as sick leave and other circumstances in which they are not working, such as

holidays and vacation. Appendix A does not mention either compensation for jury duty leave or

the compensation that employees would have earned had they not taken military leave.

       66.     Pursuant to the formula under the Plan (as set forth in Section III), the higher

amount of Wages that a Qualified Employee receives credit for under the Plan, the higher his or

her profit sharing award will be in a year in which profit sharing awards are made, and the higher




                                                21
                                            Appx26
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his or her share of all employees’ profit sharing awards will be, regardless of the employee’s

occupation or labor group.

        67.    From the inception of the Plan to the present, the Plan has not credited

employees’ military service when determining the Wages of Qualified Employees who take

military leave for the purposes of calculating profit sharing awards. As a result, Qualified

Employees who have taken military leave from Defendants have been denied credit for all of

their military service when profit sharing awards under the Plan have been calculated and paid

since 2006. In addition, because Defendants have not paid employees who took short-term

military leave when they paid employees to took comparable forms of non-military leave, as

required by USERRA § 4316(b), Qualified Employees were not credited any Wages for the

purpose of calculating their profit sharing awards when they took short-term military leave.

        68.    Other major airlines in the United States, such as Southwest Airlines and Delta

Airlines, credit employees’ military leave for the purposes of calculating their employees’ profit

sharing awards.

        69.    Pursuant to Section III.D. of the 2016 Plan Document, Qualified Employees

receive profit sharing awards no later than March 15 or as soon as practicable thereafter

following a year in which qualified employees are entitled to receive profit sharing awards.

        70.    Pursuant to Section III.E. of the 2016 Plan Document, Qualified Employees who

receive profit sharing awards may elect to receive a cash payment or contribute their profit

sharing award into an employer-sponsored 401(k) plan in which the employee is eligible to

participate.

        71.    Qualified Employees received profit sharing awards for the following years:

2006, 2010, 2011, 2012, 2013, 2014, 2015, 2016, and 2017. Qualified Employees who took




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military leave during these years would have received greater profit sharing awards in such years

if their military leave been credited for the purposes of calculating their profit sharing awards.

Plaintiff’s USERRA-Protected Military Leave & Awards Under the Plan

       72.     Since his employment with Defendants began in 2005, Plaintiff took dozens of

periods of short-term military leave of 30 days or less that qualified as service in the uniformed

services within the meaning of USERRA, 38 U.S.C. § 4303(13), including in the following

years: 2006, 2007, 2010, 2011, 2012, 2013, 20414, 2015, 2016, 2017, and 2018. In addition,

Plaintiff took a number of long term periods of military leave since 2005.

       73.     For the times that Plaintiff took military leave, including short-term military

leave, Defendants did not pay Plaintiff his regular wages.

       74.     For the times that Plaintiff took short-term military leave and long-term military

leave, Defendants did not credit any of Plaintiff’s periods of military leave in calculating his

profit sharing awards in the years in which he and other employees received profit sharing

awards.

       75.     Plaintiff was a Qualified Employee in the Plan and received a profit sharing

award in 2011, 2012, 2013, 2014, 2015, 2016, and 2017. Had Plaintiff’s military leave,

including short-term military leave, had been credited for the purposes of calculating his profit

sharing award, Plaintiff’s profit sharing award would have been greater than it was in such years.




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                                        COUNT I
      VIOLATION OF USERRA, 38 U.S.C. § 4316(b)(1), AGAINST DEFENDANTS
   (For Failure to Pay Wages or Salaries During Periods of Short-Term Military Leave)
                           On Behalf of the Paid Leave Class

       76.     Plaintiff hereby repeats and incorporates the allegations contained in the

foregoing paragraphs as if fully set forth herein.

       77.     USERRA, 38 U.S.C. § 4316(b)(1), provides that “a person who is absent from a

position of employment by reason of service in the uniformed services shall be (A) deemed to be

on furlough or leave of absence while performing such service; and (B) entitled to such other

rights and benefits not determined by seniority as are generally provided by the employer of the

person to employees having similar seniority, status, and pay who are on furlough or leave of

absence under a contract, agreement, policy, practice, or plan in effect at the commencement of

such service or established while such person performs such service.”

       78.     The U.S. Department of Labor’s regulations, which implement and interpret

USERRA § 4316(b)(1), provide that “[i]f the non-seniority benefits to which employees on

furlough or leave of absence are entitled vary according to the type of leave, the employee must

be given the most favorable treatment accorded to any comparable form of leave when he or she

performs service in the uniformed services.” 20 C.F.R. § 1002.150(b). Under these regulations,

the “duration of leave” “may be the most significant factor” to determine whether two forms of

leave are comparable, and other relevant factors include “the purpose of the leave and the ability

of the employee to choose when to take the leave.” Id.

       79.     As described above, Defendants have maintained a policy or practice of failing to

pay employees their wages or salaries when they take short-term military leave, while continuing

to pay employees their wages or salaries when they take other comparable forms of non-military

leave, such as jury duty and sick leave.



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       80.     As described above, jury duty leave and sick leave are comparable to short-term

military leave in terms of the duration, purpose, and/or the ability of the employee to determine

whether to take the leave.

       81.     By adopting and applying a policy or practice of failing to pay the Paid Leave

Class Members when they take short-term military leave, Defendants denied Plaintiff and the

Paid Leave Class Members the same rights and benefits, including compensation, that

Defendants provided to employees who took comparable forms of non-military leave, including

jury duty leave and sick leave, and thus failed to provide the Paid Leave Class Members the most

favorable treatment accorded to employees who took other comparable forms of non-military

leave. By doing so, Defendants violated and continues to violate USERRA § 4316(b)(1).

       82.     Due to Defendants’ failure to comply with USERRA § 4316(b)(1), Plaintiff and

other members of the Paid Leave Class received lower wages, salaries, and/or compensation than

they would have received had Defendants complied with USERRA and the Department of

Labor’s implementing regulations.

       83.     Upon information and belief, Defendants’ violation of USERRA § 4316(b)(1)

was willful. Accordingly, Defendants should be required to pay liquidated damages pursuant to

38 U.S.C. § 4323(d)(1)(C).

                                        COUNT II
      VIOLATION OF USERRA, 38 U.S.C. § 4316(b)(1), AGAINST DEFENDANTS
 (For Failure to Credit Short-Term Military Leave in Calculating Profit Sharing Awards)
                           On Behalf of the Profit Sharing Class

       84.     Plaintiff hereby repeats and incorporates the allegations contained in the

foregoing paragraphs as if fully set forth herein.

       85.     USERRA, 38 U.S.C. § 4316(b)(1), provides that “a person who is absent from a

position of employment by reason of service in the uniformed services shall be (A) deemed to be



                                                 25
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on furlough or leave of absence while performing such service; and (B) entitled to such other

rights and benefits not determined by seniority as are generally provided by the employer of the

person to employees having similar seniority, status, and pay who are on furlough or leave of

absence under a contract, agreement, policy, practice, or plan in effect at the commencement of

such service or established while such person performs such service.”

       86.     The U.S. Department of Labor’s regulations, which implement and interpret

USERRA § 4316(b)(1), provide that “[i]f the non-seniority benefits to which employees on

furlough or leave of absence are entitled vary according to the type of leave, the employee must

be given the most favorable treatment accorded to any comparable form of leave when he or she

performs service in the uniformed services.” 20 C.F.R. § 1002.150(b). Under the Regulations,

the “duration of leave” “may be the most significant factor” to determine whether two forms of

leave are comparable, and other relevant factors include “the purpose of the leave and the ability

of the employee to choose when to take the leave.” 20 C.F.R. § 1002.150(b).

       87.     As described above, Defendants UCH and UAL have maintained a policy or

practice of failing to credit employees’ short-term military leave when calculating their profit

sharing awards, while crediting employees’ comparable forms of non-military leave, such as jury

duty and sick leave, when calculating their profit sharing awards.

       88.     As described above, jury duty leave and sick leave are comparable to short term

military leave in terms of the duration, purpose, and/or the ability of the employee to determine

whether to take the leave.

       89.     By adopting and applying a policy or practice of failing to credit employees’

short-term military leave when calculating their profit sharing awards while crediting employees’

comparable forms of non-military leave, such as jury duty and sick leave, when calculating their




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profit sharing awards, Defendants failed to provide Plaintiff and the Profit Sharing Class

Members who took short-term military leave the most favorable treatment accorded to

employees who took other comparable forms of non-military leave. By doing so, Defendants

violated and continues to violate USERRA § 4316(b)(1).

       90.     Due to Defendants’ failure to comply with USERRA § 4316(b)(1), Plaintiff and

other members of the Profit Sharing Class received lower profit sharing awards than they would

have received had Defendants complied with USERRA and the Department of Labor’s

implementing regulations.

       91.     Upon information and belief, Defendants’ violation of USERRA § 4316(b)(1)

was willful. Accordingly, Defendants should be required to pay liquidated damages pursuant to

38 U.S.C. § 4323(d)(1)(C).

                                         COUNT III
         VIOLATION OF USERRA, 38 U.S.C. § 4318, AGAINST DEFENDANTS
      (For Failure to Credit All Military Leave in Calculating Profit Sharing Awards)
                           On Behalf of the Profit Sharing Class

       92.     Plaintiff hereby repeats and incorporates the allegations contained in the

foregoing paragraphs as if fully set forth herein.

       93.     USERRA § 4318 applies to both ERISA plans and non-ERISA plans. USERRA

§ 4318(a)(1)(A) provides that USERRA applies to “an employee pension benefit plan,” which

includes a pension plan under ERISA § 3(2), 29 U.S.C. § 1002(2), but also expressly states that §

4318 applies to pension plans that are not covered by ERISA.

       94.     The Department of Labor’s regulations, 20 C.F.R. § 1002.260(a), likewise explain

that while all ERISA-covered pension plans are covered by USERRA, “USERRA covers certain

pension plans not covered by ERISA.”




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        95.    Section I.C. of the 2016 Plan Document asserts that the Plan “is not intended to be

. . . an employee benefit plan within the meaning of ERISA.” Not only is a statement of whether

a Plan is intended to be covered by ERISA irrelevant to whether a plan is covered by ERISA, but

nothing in the 2016 Plan attempts to disclaim coverage as a pension plan under USERRA §

4318.

        96.    The Plan is an employee benefit pension plan under USERRA, 38 U.S.C. § 4318,

because, among other things, the Plan permits employees to designate an amount of their profit

sharing awards that will be paid to their retirement plans and thereby defer their profit sharing

awards until the termination of their employment and/or have the awards paid as retirement

income.

        97.    Under USERRA § 4318(a)(2)(B), an employee’s service in the uniformed service

will be deemed to constitute service with the employer for purposes of determining the accrual of

benefits under a pension plan.

        98.    The Department of Labor’s regulations require that “[o]n reemployment,

the employee [be] treated as not having a break in service with the employer or the employers

maintaining a pension plan, for purposes of participation, vesting and accrual of benefits, by

reason of the period of absence from employment due to or necessitated by service in the

uniformed services.” 20 C.F.R. § 1002.259.

        99.    Pursuant to USERRA, 38 U.S.C. § 4318(b)(1), an employer reemploying a person

after a period of service in the uniformed services is liable to the employee benefit pension plan

for funding any obligation of the plan to provide benefits, including those accrued under

USERRA § 4318(a)(2)(B).




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           100.   For the purposes of computing an employer’s liability under USERRA 38 U.S.C.

§ 4318(b), the employee’s compensation during the period of service described in § 4318

(a)(2)(B) shall be computed either (A) at the rate the employee would have received but for the

period of service described in Section 4318(a)(2)(B), or (B) in the case that the determination of

such rate is not reasonably certain, on the basis of the employee’s average rate of compensation

during the 12-month period immediately preceding such period (or, if shorter, the period of

employment immediately preceding such period).

           101.   Defendants adopted a policy that did not treat any service of employees who took

leave in the uniformed service as service with an Employer under the Plan.

           102.   By failing to treat the service of employees who took short-term miltiary leave or

long-term military leave as service under the Plan, Defendants UCH and UAL violated and

continue to violate USERRA § 4318.

           103.   As a result of Defendants UCH and UAL’s failure to comply with USERRA §

4318, Plaintiff and other members of the Profit Sharing Class received profit sharing awards that

were smaller than what they would have received had Defendants complied with USERRA. In

addition, Plaintiff and other members of the Profit Sharing Class were unable to use the profit

sharing awards that should have been allocated to them to contribute those awards into their tax-

qualified retirement plans.

           104.   Upon information and belief, Defendants’ violation of USERRA § 4318 was

willful.

                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiff prays that judgment be entered against Defendants on all claims

and respectfully requests that this Court award the following relief:




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       A.        Declare that Defendants’ policies or practices of failing to pay their employees’

regular wages, salaries, or compensation during periods of short-term military leave, while

providing pay to employees when they took other comparable forms of non-military leave, and

failing to credit employees’ short-term military leave for the purposes of calculating profit

sharing awards, while crediting employees’ comparable forms of non-military leave, violated the

rights of Plaintiff and the Class under USERRA § 4316(b);

       B.        Declare that Defendants’ failure to credit employees’ short-term military leave

and long-term military leave for the purposes of calculating profit sharing awards violated

USERRA § 4318.

       C.        Declare that Defendants’ violations of USERRA were willful under 38 U.S.C. §

4323(d)(1)(C).

       D.        Declare that Defendants must pay their employees’ regular compensation during

periods of short-term military leave and credit employees’ periods of short-term military leave

for the purposes of calculating profit sharing awards.

       E.        Require Defendants to comply with USERRA § 4316 by paying Plaintiff and the

Class Members their regular wages, salaries, and/or compensation during periods of short-term

military leave in the future, and crediting employees’ periods of short-term military leave for the

purposes of calculating profit sharing awards in the future.

       F.        Require Defendants to comply with USERRA § 4318 by crediting all periods of

military leave for the purposes of calculating profit sharing awards in the future.

       G.        Require Defendants to pay Plaintiff and the Class Members the wages, salaries,

and/or compensation they should have received for periods of short-term military leave in

accordance with the Court’s declaration, or at a minimum to pay Plaintiff and the Class Members




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the difference between the wages, salaries, and/or compensation they should have received for

periods of short-term military leave and the payments that Plaintiff and the Class Members

received from the Armed Forces for their military service during such short-term military leave

periods.

       H.      Require Defendants to recalculate the profit sharing awards that Plaintiff and the

Class Members should have received under the Plan in accordance with the Court’s declaration;

       I.      Order Defendants to pay all members of the Class liquidated damages in an

amount to be determined at trial, 38 U.S.C. § 4323(d)(1)(C).

       J.      Award pre-judgment and post-judgment interest on any monetary relief awarded

or required by order of this Court.

       K.      Require Defendants to pay attorneys’ fees, expert witness fees, litigation expenses

and costs pursuant to 38 U.S.C. § 4323(h) and/or order the payment of reasonable fees and

expenses in this action to Plaintiff’s Counsel based on the common benefit and/or common fund

doctrine out of any money or benefit recovered for the Class in this Action.

       L.      Grant such other and further relief as the Court deems proper, just and/or

equitable.

                                      JURY TRIAL DEMAND

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure or any similar rule or law,

Plaintiff demands a trial by jury for all causes of action and issues for which trial by jury is

available.




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Dated: March 29, 2019                Respectfully submitted,

                                     / s / Peter Romer-Friedman
                                     Peter Romer-Friedman (Admitted to N.D. Ill.)
                                     Outten & Golden LLP
                                     601 Massachusetts Avenue NW
                                     Second Floor West
                                     Washington, DC 20001
                                     Tel: (202) 847-4400
                                     Email: prf@outtengolden.com

                                     Paul W. Mollica (Admitted to N.D. Ill.)
                                     Outten & Golden LLP
                                     161 North Clark Street
                                     Suite 1600
                                     Chicago, IL 60601
                                     Tel: (312) 809-7010
                                     Email: pwmollica@outtengolden.com

                                     R. Joseph Barton (Admitted to N.D. Ill.)
                                     Block & Leviton LLP
                                     1735 20th Street NW
                                     Washington, DC 20009
                                     Tel: (202) 734-7046
                                     Fax: (617) 507-6020
                                     Email: jbarton@blockesq.com

                                     Thomas G. Jarrard (Admitted to N.D. Ill.)
                                     Law Office of Thomas G. Jarrard LLC
                                     1020 N. Washington Street
                                     Spokane, WA 99201
                                     Tel: (425) 239-7290
                                     Fax: (509) 326-2932
                                     Email: tjarrard@att.net

                                     Matthew Z. Crotty (Pro hac vice motion pending)
                                     Crotty & Son Law Firm, PLLC
                                     905 W. Riverside Avenue
                                     Suite 404
                                     Spokane, WA 99201
                                     Tel: (509) 850-7011
                                     Email: matt@crottyandson.com

                                     Attorneys for Plaintiff




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                               CERTIFICATE OF SERVICE

       I, Peter Romer-Friedman, an attorney, hereby certify that on March 29, 2019, I filed the

foregoing Amended Class Action Complaint via the Court’s CM/ECF system, which

caused a copy of the same to be served upon all counsel of record via ECF.


                                            /s/ Peter Romer-Friedman
                                            Peter Romer-Friedman




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 ERIC WHITE, on behalf of himself and all           )
 others similarly situated,                         )
                                                    ) Case No. 1:19-CV-00114
                      Plaintiff,                    )
                                                    ) Honorable Judge Charles Norgle
 v.                                                 )
                                                    )
 UNITED AIRLINES, INC. and UNITED                   )
 CONTINENTAL HOLDINGS, INC.,                        )
                                                    )
                      Defendants.                   )

      DECLARATION OF LINCOLN LOUNSBURY IN SUPPORT OF DEFENDANTS’
           MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

        I, Lincoln Lounsbury, declare as follows:

        1.     My name is Lincoln Lounsbury. I am over the age of 18 and am otherwise

competent to make this declaration.

        2.     All statements in this declaration are true and accurate. The following statements

are based on my personal knowledge and review of company records and other documents that

are maintained in the regular course and as part of the regular business practices of United

Airlines, Inc. (“United”) and United Continental Holdings, Inc. (“UCH”).

        3.     I am currently employed by United in its Legal Department as Senior Managing

Counsel - Benefits. I have held this position since August 28, 2006.

        4.     My primary responsibilities are to provide legal advice and work product with

respect to benefits, compensation, and bonus plans applicable to United’s employees. This work

includes drafting and amending the United Continental Holdings, Inc. Profit Sharing Plan and

advising United with respect to its administration. In that position, I also have familiarity with

the collective bargaining agreements applicable to United’s employees, including our pilots.




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                  UNITED PILOT AGREEMENT

                                 AGREEMENT

                                   BETWEEN

                            UNITED AIRLINES, INC.

                                    AND THE

                                AIR LINE PILOTS


                              IN THE SERVICE OF

                            UNITED AIRLINES, INC.

                          AS REPRESENTED BY THE

             AIR LINE PILOTS ASSOCIATION, INTERNATIONAL




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Section 1 -Recognition, Scope and Career Security
                      Section last updated on 12/20/2017
1-A      Recognition
The Air Line Pilots Association, International (the “Association”), has furnished the Company evidence
that a majority of the airline pilots and flight instructors employed by the Company have designated
the Association to represent them and in their behalf negotiate and conclude an agreement with the
Company as to hours of labor, wages and other employment conditions covering the pilots and flight
instructors in the employ of the Company in accordance with the provisions of Title II of the Railway
Labor Act, as amended and the certifications issued by the National Mediation Board in Case Nos. R-
7305 and R-7306.
1-B      Scope
The Pilots and flight instructors on the Seniority List (the “United Pilots,” “United pilots,” “Company
Pilots,” or “Company pilots”) shall have the sole and exclusive right to perform, train, and be trained
to perform Company Flying and operate Company Aircraft in accordance with the terms and
conditions of this agreement or any other applicable agreement or agreements between the
Company and the Association (together, the “Agreement”).
   1-B-1 Company Flying
   Except as provided in Section 1-B-2, “Company Flying” includes without limitation all commercial
   flight operations of any sort whatsoever, whether revenue, nonrevenue, scheduled or
   unscheduled, conducted (i) by or for the Company or a Company Affiliate, or (ii) by the Company
   or a Company Affiliate for other air carriers, (iii) by an Entity managed by or under the Control of
   the Company or a Company Affiliate, or (iv) pursuant to an agreement or arrangement with the
   Company or Company Affiliate not permitted by Sections 1-C or 1-D.
       1-B-1-a All ferry or delivery flights that are not included in the exception to Company Flying
       contained in Section 1-B-2(i) below will be performed by Pilots on the United Pilots Seniority
       List.
           1-B-1-a-(1) Notwithstanding Section 1-B-1-a above, if the Company assigns engineering or
           test pilots not on the United Pilots Seniority List to operate a new aircraft delivery flight,
           the Company will be required to remove a line crew in accordance with Section 20-Q-15
           (hereafter, "FBO"). Such operation by engineering or test pilots shall be limited to
           transferring the aircraft from the manufacturer's facility or home airfield to the United
           station at which modifications for introduction to line service are performed. Line Pilots
           shall operate the flight out of the United station once modifications are complete.
           1-B-1-a-(2) The Company may request any additional relief from Section 1-B-1-a on a case
           by case basis from the MEC Chairman.
       1-B-1-b Notwithstanding Section 1-B-1 above, if two line crews refuse an aircraft for any
       reason, the Company may assign engineering or test pilots not on the United Pilots Seniority




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    List to operate a ferry flight to reposition the aircraft. The Company is not required to FBO a
    line crew for any such ferry flight.
 1-B-2 Not Included in Company Flying
 Company Flying does not include flight operations that are (i) normally performed by the
 Company’s engineering and test pilots, provided such flights either require performance of
 diagnostic tests which pilots who perform Company Flying are not trained to perform or involve
 flights that take off and land at the same facility with no intermediate stop, or (ii) conducted by a
 United Express Carrier pursuant to Section 1-C-1, or (iii) conducted by a Domestic Air Carrier
 pursuant to Section 1-C-2, or (iv) conducted by a Foreign Air Carrier pursuant to Section 1-C-3, or
 (v) conducted by an Affiliate with which the Company is engaged in an Operational Merger
 following a Merger Transaction but before the Operational Merger subject to Section 1-D, or (vi)
 conducted by any other air carrier in accordance with an Industry Standard Interline Agreement.
    1-B-2-a Flights that "require performance of diagnostic tests which pilots who perform
    Company Flying are not trained to perform", as stated in Section 1-B-2(i) above, refers to any
    flights designated as Group 2 Non-Routine flight operations as defined by the FAA in
    Supplement to InFO 08032 dated May 16, 2008, in which such tests are required.
    1-B-2-b On a flight covered by Section 1-B-2(i) above, where one or more diagnostic test is
    required, engineering or test pilots not on the United Pilots Seniority List may continue to fly
    the aircraft following such diagnostic test(s) to any location the Company deems appropriate
    and the Company will not be required to FBO a line crew for any such flight. Once the test
    flight is complete and the aircraft has landed, further repositioning of the airplane by
    engineering or test pilot crews will require the Company to FBO a line crew for any such flight.
    1-B-2-c If the Company assigns engineering or test pilots not on the United Pilots Seniority List
    to conduct one or more diagnostic test, pursuant to Section 1-B-2(i) above, in order to
    determine if any aircraft system is discrepant (i.e. operating outside of the range of acceptable
    tolerance), the Company is required to FBO a line crew if (1) there was no indication before
    the diagnostic test(s) was conducted that any aircraft system may be discrepant, and (2) the
    aircraft does not take off and land at the same facility, even if the test is deemed necessary by
    a Company representative authorized to order such diagnostic tests. However, the Company
    is not required to FBO a line crew when such diagnostic tests are performed following
    maintenance on an aircraft to verify there are no discrepant aircraft systems per the General
    Maintenance Manual.
    1-B-2-d The Association shall be provided reports on at least a monthly basis of flights flown
    by engineering or test pilots conducted under Section 1-B-2(i) above. These reports will
    contain flight information and identify specific aircraft issues requiring the test flight. The
    Company will provide ALPA access necessary to verify pilots assigned to each such flight.
 1-B-3 Pilot Training
 Neither the Company nor a Company Affiliate shall enter into any agreement or arrangement with
 any person who is not employed by the Company to conduct or supervise United training or to




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   utilize United training facilities to train other pilots, including without limitation all United Pilot
   training historically performed at the Pilot Training Centers, except that the Company may:
       1-B-3-a Use retired or disability retired United pilots who perform the present duties of a flight
       technical instructor in the Pilot Training Centers as consultants to the Company while under
       the Company’s supervision;
       1-B-3-b Permit aircraft manufacturers or other qualified organizations to conduct initial
       training of United flight training personnel on new aircraft Equipment types;
       1-B-3-c Sell its training services to third parties using United Pilot instructors, provided that
       such services are not used for the training of pilots to operate aircraft for any air carrier during
       a labor dispute; or
       1-B-3-d Dry lease training assets to another airline, FAR Part 142 certificate holder, aerospace
       company or governmental agency to perform training for pilots provided that such assets are
       not used for the training of pilots to operate aircraft for any air carrier during a labor dispute.
1-C      Code Sharing, Marketing, Ownership and Other Arrangements
Except as provided in Sections 1-C-1, 1-C-2, and 1-C-3, neither the Company nor a Company Affiliate
shall enter into any agreement or arrangement that permits any other air carrier to conduct
commercial flight operations under the United trade name, brand, logo, trademarks, service marks,
or aircraft livery, or any Designator Code currently or in the future owned or used by the Company or
a Company Affiliate.
   1-C-1 United Express Flying
       1-C-1-a The Company or a Company Affiliate may enter into agreements with other air carriers
       to conduct United Express Flying only in accordance with Section 1-C-1. “United Express
       Flight” or “United Express Flying” means a Flight or Flights by a Domestic Air Carrier or Foreign
       Air Carrier that satisfies all of the following four (4) criteria: i) in Regional Aircraft, ii) utilizing
       an air carrier operating certificate other than the Company’s, iii) conducted using the
       Company’s Designator Code and the United Express or similar brand or pursuant to a Revenue
       Share Agreement, and iv) operating in Markets within the United States and Territories or
       between the United States and Territories and Foreign Airports or between Foreign Airports,
       except that “United Express Flight” or “United Express Flying” does not include Flights or flying
       conducted by an air carrier pursuant to Section 1-C-2.
           1-C-1-a-(1) Prior to January 1, 2014, United Express Carriers may operate United Express
           Flying under the limitations of Sections 1-K-10 and 1-K-22 of the 2003 Agreement between
           United Airlines and the Air Line Pilots Association (the “2003 United/ALPA CBA”) and the
           provisions of Sections 1-C-1-b through 1-C-1-f, 1-C-1-i and 1-C-1-j.
           1-C-1-a-(2) On or after January 1, 2014 United Express Carriers may operate United
           Express Flying under the following limitations:
               1-C-1-a-(2)-(a) 37-Seat Turboprop Aircraft; and
               1-C-1-a-(2)-(b) 50-Seat Aircraft, provided that such aircraft do not number more than
               ninety percent (90%) of the number of single aisle aircraft in the Company Fleet; and



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            1-C-1-a-(2)-(c) Up to a total of 255 76-Seat Aircraft plus 70-Seat Aircraft (“76/70-Seat
            Aircraft”), of which up to 130 may be 76-Seat Aircraft, and then, on or after January 1,
            2016, up to 153 76-Seat Aircraft.
    1-C-1-b At least eighty percent (80%) of all United Express Flights each month shall be under
    900 statute miles.
    1-C-1-c The Company or a Company Affiliate may create, acquire, Control, manage, take an
    Equity interest in, enter into Code Share Agreements with, or sell, lease or transfer aircraft to
    United Express Carriers that comply with the provisions of Section 1-C-1, without the flight
    operations of such air carrier being considered Company Flying or the aircraft of such air
    carrier being considered Company Aircraft.
    1-C-1-d Hubs
    In any Rolling Twelve-Month Period, the number of block hours of United Express Flying
    operated by United Express Carriers as a group non-stop between current or future Company
    Hubs may not exceed five percent (5%) of all United Express Flying as a percentage of the total
    block hours of United Express Flying. A pair of Flights by a United Express Carrier operated
    under a single flight number in which one Flight is scheduled to originate at a Company Hub
    and the second Flight is scheduled to terminate at a second Company Hub shall be included
    within the five percent (5%) limitation, unless the Company imposes an IATA Standard
    Schedules Information Manual Type “A” Traffic Restriction Code on the through itinerary that
    shall suppress the display of such itinerary.
    1-C-1-e Connecting Operations
    United Express Carriers as a group shall Schedule at least ninety percent (90%) of their United
    Express Flying Non-Stops into or out of the following airports: IAD, DCA, MIA, LGA, EWR, JFK,
    ORD, DEN, LAX, SFO, SEA, BOS, PDX, PHX, LAS, SJC, SAN, IAH, CLE, GUM, any airport within
    thirty (30) statute miles of any of the foregoing, any other airport with fifty (50) or more
    scheduled daily departures of Company Flying, and any other airport that the parties later
    agree to add to this list. Up to five percent (5%) of United Express Flying flights may be applied
    toward satisfying this requirement even if such flights include multiple stops, as long as such
    flights i) originate or terminate at one of the foregoing airports, ii) maintain a single flight
    number on a single aircraft for all the legs of such flight to or from such airport, and iii) operate
    with scheduled intermediate stops of less than two (2) hours.
    1-C-1-f Scheduled Aircraft Block Hours of United Express Flying as Percentage of Block Hours
    of Company Flying on Single-Aisle Aircraft
        1-C-1-f-(1) In any Rolling Twelve-Month Period ending the first full calendar month
        following date of signing of this Agreement or later, the Company shall not Schedule or
        permit the Scheduling of aircraft block hours of United Express Flying (excluding block
        hours operated by 37-Seat Turboprop Aircraft) exceeding the maximum percentage of
        Scheduled aircraft block hours of Company Flying on single-aisle Company Aircraft (“Max.
        % of UAXBH to SBH”) set forth in the following chart. Cells 1 to 8 state the number of 76-
        Seat Aircraft operated in United Express Flying (cells 2 through 8 show an increase in the




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       number of such 76-Seat Aircraft if added under Section 1-C-1-g). Cells 9 through 16 state
       the Max. % of UAXBH to SBH that the Company must maintain based on the number of
       76-Seat Aircraft in cells 1 through 8. The measurement for the twelve (12) months in any
       Rolling Twelve-Month Period shall be made on a weighted basis by the number of 76-Seat
       Aircraft in United Express Flying in each month.
                           Number of 76-Seat
                          Aircraft Operated In             Max. % of
                          United Express Flying          UAXBH to SBH
                        1.      Zero to 153         9.      120%
                        2.      154-163             10.     111%
                        3.      164-173             11.     104%
                        4.      174-183             12.     97%
                        5.      184-193             13.     90%
                        6.      194-203             14.     83%
                        7.      204-213             15.     76%
                        8.      214-223             16.     68%


       1-C-1-f-(2) The Company shall be excused from compliance with Section 1-C-1-f-(1) for the
       period of time that a Circumstance Beyond the Company's Control is the cause of such
       non-compliance.
    1-C-1-g Number of 76-Seat Aircraft
    If the Company adds New Small Narrowbody aircraft to the Company Fleet, then on or after
    January 1, 2016, the number of permitted 76-Seat Aircraft may increase from 153 (as
    permitted under Section 1-C-1-a-(2)-(c)) up to a total of 223 76-Seat Aircraft, and the number
    of permitted 76/70-Seat Aircraft may increase from 255 (as permitted under Section 1-C-1-a-
    (2)-(c)) up to a total of 325 76/70-Seat Aircraft, except that once the number of 76/70-Seat
    Aircraft exceeds 255, then the number of 70-Seat Aircraft may not be more than 102. 76-Seat
    Aircraft (above 153 such Aircraft) may be added on a one 76-Seat Aircraft for each one and
    one quarter New Small Narrowbody Aircraft (1:1.25) ratio (rounded to the closest integer). In
    addition, in the event more than 153 76-Seat Aircraft are in United Express Flying, the
    Company shall remove from United Express Flying a number of 50-Seat Aircraft determined
    as follows:
       1. “FSFC” is the number of 50-Seat Aircraft in United Express Flying on the date that the
          154th 76-Seat Aircraft enters United Express Flying.
       2. Subtract 125 from FSFC.




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       3. Divide the number resulting from step 2 by seventy (70). This results in a factor “X”
          rounded to the second decimal place.
       4. For each 76-Seat Aircraft added to United Express Flying above 153, remove from
          United Express Flying a number of 50-Seat Aircraft no less than X, with the resulting
          number of 50-Seat Aircraft to be removed, rounded to the closest integer.
       5. Example 1: If the number of 50-Seat Aircraft in United Express Flying is 334, then FSFC-
          125 equals 209; when 209 is divided by seventy (70), then X = 2.99
       6. Example 2: If the number of 50-Seat Aircraft in United Express Flying is 488, then FSFC-
          125 equals 363; when 363 is divided by seventy (70), then X = 5.19.
    For the phrase “rounded to the closest integer,” in step 4, the values .1 to .4 shall be rounded
    down to the next lower whole number and the values .5 to .9 shall be rounded up to the next
    higher whole number.
       1-C-1-g-(1) If on January 1, 2016, or any succeeding January 1 thereafter, the number of
       50-Seat Aircraft in United Express Flying exceeds the maximum permitted number, the
       Company shall require United Express Carriers that engage in United Express Flying to
       suspend or cease operations on a sufficient number of 50-Seat Aircraft or 76-Seat Aircraft
       to comply with these requirements within sixty (60) days and to remain in compliance
       thereafter. The Company shall be excused from compliance with the provisions of this
       Section 1-C-1-g-(1) in the event a Circumstance Beyond the Company’s Control is the cause
       of such non-compliance
    1-C-1-h Effect of Furlough
    If a Pilot on the Seniority List with an employment date prior to January 23, 2016 is placed on
    furlough, the Company shall convert all 76-Seat Aircraft for operation as 70-Seat Aircraft. The
    number of such aircraft shall continue to be limited as though they were being operated as
    76-Seat Aircraft. The Company may again commence operating such Aircraft as 76-Seat
    Aircraft effective on the date that the most junior Pilot protected by the first sentence of this
    Section 1-C-1-h is recalled from furlough.
    1-C-1-i United Express Carrier Branding
    Aircraft operated in United Express Flying may bear the Company’s logo or aircraft livery only
    if such aircraft bear the name United Express or similar name connoting a connection with
    United Airlines (but such United Express Flying operations may not be conducted under the
    name United Airlines or other names used by the Company).
    1-C-1-j Hiring of Furloughed Pilots
    Pursuant to Letter of Agreement 12-09, no Domestic United Express Carrier which does not
    comply with the requirements of Letter of Agreement 12-09 with respect to the hiring of
    furloughed United Pilots may operate 70-Seat Aircraft or 76-Seat Aircraft.
 1-C-2 Domestic Code Share Agreements




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 The Company or a Company Affiliate may enter into or maintain a Code Sharing Agreement with
 Domestic Code Share Carriers that permit such carriers to apply the Company’s Designator Code
 to their operations only in accordance with this Section 1-C-2. For purposes of this Section 1-C-2,
 Flights conducted by Affiliates of the Domestic Code Share Carrier or United Express Carriers
 under agreement with and under the Designator Code of the Domestic Air Carrier shall be
 considered Flights conducted by that Domestic Air Carrier to the extent they are conducted
 pursuant to the applicable Domestic Code Sharing Agreement.
    1-C-2-a The Company may maintain the existing Domestic Code Sharing Agreements with
    Great Lakes, Gulfstream/Silver Airways, and Cape Air, provided those Domestic Air Carriers
    only operate Regional Aircraft.
    1-C-2-b The Company may enter into or maintain Domestic Code Sharing Agreements for flight
    operations between airports within Alaska and Hawaii.
    1-C-2-c The Company may maintain and enter into additional Domestic Code Sharing
    Agreements with Domestic Code Share Carriers subject to the following restrictions:
        1-C-2-c-(1) Hub to Hub Flights
        The Company shall not permit Domestic Code Share Flying between Company Hubs or to
        or from a Company Hub unless such Flying is between a Company Hub and the applicable
        Domestic Code Share Carrier’s Hub. The number of ASMs of code sharing flying conducted
        by the Domestic Code Share Carrier from the Company’s Hubs to the Domestic Code Share
        Carrier’s Hubs cannot exceed the Domestic Code Share Carrier Hub ASM Ratio (as defined
        below):
        For each Domestic Code Share Carrier, a ratio (the “Domestic Code Share Carrier Hub ASM
        Ratio”) will be determined by dividing the number of ASMs of all Hub to Hub Flights (i.e.,
        between the applicable Domestic Code Share Carrier’s Hubs and Company Hubs)
        scheduled to be operated by such Domestic Code Share Carrier on aircraft other than
        Regional Aircraft by the number of domestic ASMs of all Hub to Hub Flights scheduled to
        be operated by the Company during the twelve (12) full calendar months immediately
        prior to the effective date of the Domestic Code Sharing Agreement with the Domestic
        Code Share Carrier. The last day of the twelve-month period shall be the “Ratio Date” with
        respect to such Domestic Code Share Carrier.
        For each Rolling Twelve-Month Period measured each calendar month (with the first
        measurement occurring the twelfth (12th) calendar month after the Ratio Date), the ratio
        between the number of domestic ASMs of Hub to Hub Flights scheduled by the Domestic
        Code Share Carrier bearing the Company’s Designator Code and the number of ASMs of
        Hub to Hub Flights scheduled by the Company bearing the Domestic Code Share Carrier’s
        designator code (the “Schedule Ratio”) shall not exceed 120% of the Domestic Code Share
        Carrier Hub ASM Ratio.
        1-C-2-c-(2) System Flights




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       The number of ASMs in flights conducted by the Domestic Code Share Carrier carrying the
       Company’s code may not exceed the Domestic Code Share Carrier ASM Ratio (as defined
       below):
       For each Domestic Code Share Carrier, a ratio (the “Domestic Code Share Carrier ASM
       Ratio”) will be determined by dividing the number of ASMs scheduled to be operated by
       the Domestic Code Share Carrier in aircraft other than Regional Aircraft by the number of
       ASMs of all flights scheduled to be operated by the Company during the twelve (12) full
       calendar months immediately prior to the effective date of the Code Share Agreement
       with the Domestic Code Share Carrier. The last day of the applicable twelve (12) month
       period shall be the “Ratio Date” with respect to such Domestic Code Share Carrier.
       For each Rolling Twelve-Month Period measured each calendar month (with the first (1st)
       measurement occurring the twelfth (12th) calendar month after the Ratio Date), the ratio
       between the number of ASMs of Domestic Code Sharing Agreement Flights scheduled by
       the Domestic Code Share Carrier bearing the Company’s designator code in aircraft other
       than Regional Aircraft and the number of ASMs of Domestic Code Sharing Agreement
       Flights scheduled by the Company bearing the Domestic Code Share Carrier’s designator
       code (the “Domestic Code Share Carrier Schedule Ratio”) shall not exceed 115% of the
       Domestic Code Share Carrier ASM Ratio. For example, if the Domestic Code Share Carrier
       ASM Ratio is 1.5 (i.e., the Domestic Code Share Carrier had fifty percent (50%) more
       scheduled ASMs in aircraft other than Regional Aircraft than the Company in the
       measurement period), then the number of ASMs scheduled to be operated by the
       Domestic Code Share Carrier bearing the Company’s Designator Code in aircraft other than
       Regional Aircraft may not be more than 1.725 times the number of ASMs scheduled to be
       operated by the Company bearing the Domestic Code Share Carrier’s Designator Code. As
       a further example, if the Domestic Code Share Carrier ASM Ratio is 0.5 (i.e., the Domestic
       Code Share Carrier has one-half (1/2) of the scheduled ASMs of the Company in the
       measurement period in aircraft other than Regional Aircraft), then the number of ASMs
       scheduled to be operated by the Domestic Code Share Carrier bearing the Company’s
       Designator Code in such aircraft may not be more than 0.575 times the number of ASMs
       scheduled to be operated by the Company bearing the Domestic Code Share Carrier’s
       Designator Code.
       The provisions of this Section 1-C-2-c-(2) shall have been satisfied in connection with a
       Domestic Code Sharing Agreement with a Domestic Code Share Carrier that at the time
       operates fewer than one-half (1/2) of the number of ASMs operated by the Company, if
       the number of ASMs of Domestic Code Sharing Agreement Flights scheduled by the
       Domestic Code Share Carrier bearing the Company’s Designator Code equals no more than
       125% of the number of ASMs of Domestic Code Share Flights scheduled by the Company
       bearing the Domestic Code Share Carrier’s Designator Code.
    1-C-2-d Identity
    The Company may conduct joint marketing efforts with Domestic Air Carriers with which it is
    engaging in Domestic Code Share Flying but shall maintain a primary operating, corporate,
    and marketing identity (including an independent and separate name, trade name, logo,



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    aircraft livery, trademarks, and service marks), separate and apart from the identity of the
    Domestic Code Share Carriers. Nonetheless, the Company may operate aircraft bearing the
    logo of the alliance in which the Company participates (in addition to and smaller than the
    Company’s logo) and may market its Flights using the alliance marketing identity in addition
    to, but less prominent than, its own. Further, the Company may operate aircraft up to three
    percent (3%) of the Company fleet bearing the livery of the alliance in which the Company
    participates, including the names, colors, and logos of all of the alliance’s airlines.
 1-C-3 Foreign Air Carrier Code Share Agreements
 In any Rolling Twelve-Month Period the Company shall not Schedule or permit the Scheduling of
 aggregate ASMs of Foreign Code Share Flying operated by any Foreign Air Carrier that is not party
 to a Revenue Share Agreement with the Company or Company Affiliate between the United States
 and Territories and a Foreign Airport exceeding 125% of the aggregate Scheduled ASMs of
 Company Flying bearing that Foreign Air Carrier’s Designator Code. Further, the Company or a
 Company Affiliate may enter into or maintain Code Share Agreements and Revenue Share
 Agreements with Foreign Air Carriers that permit such carriers to utilize the Company’s Designator
 Code on such carriers’ Flights between the United States and Territories and Foreign Airports or
 between two Foreign Airports (“Foreign Code Share Flying”) only in accordance with Sections 1-
 C-3-a through 1-C-3-c. For clarification purposes, the first sentence of Section 1-C-3applies to a
 Foreign Code Share Agreement where there is no Revenue Share Agreement; Sections 1-C-3-a, 1-
 C-3-b-(1), and 1-C-3-b-(2) apply to Flights operated under either a Foreign Code Share Agreement
 or a Revenue Share Agreement with a Foreign Air Carrier, and Sections 1-C-3-b-(3) and 1-C-3-c
 apply where the Flights are operated under both a Foreign Code Share Agreement and a Revenue
 Share Agreement with the applicable Foreign Air Carrier.
    1-C-3-a Geographical Limits
    The Company shall not Schedule or permit the Scheduling of Foreign Code Share Flying from
    or to a Company Hub unless the other airport in the Market (i) is a Hub of the applicable
    Foreign Air Carrier (including such carrier’s Foreign Air Carrier Affiliates) outside the United
    States or (ii) is another Foreign Airport in a country which contains a Hub of such Foreign Air
    Carrier (including such carrier’s Foreign Air Carrier Affiliates).
    1-C-3-b Flying Ratios
        1-C-3-b-(1) For each Foreign Air Carrier which is a party to a Code Share Agreement, with
        respect to International Routes on which the Company has scheduled service, a
        differential (the “Foreign Air Carrier Flight Differential”) will be determined by comparing
        the average number of scheduled Flights per day operated on an International Route by
        the Company with the average number of scheduled Flights per day operated on the same
        International Route by the Foreign Air Carrier (including Flights operated by Affiliates of
        such Foreign Air Carrier) either:
            1-C-3-b-(1)-(a) During the twelve (12) full calendar months immediately prior to the
            effective date of this Agreement (if the Foreign Air Carrier was a party to a Code Share
            Agreement on the effective date of this Agreement), or




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          1-C-3-b-(1)-(b) During the twelve (12) full calendar months immediately prior to the
          effective date of the Code Share Agreement with the Foreign Air Carrier (if the Foreign
          Air Carrier was not a party to a Code Share Agreement on the effective date of this
          Agreement).
       1-C-3-b-(2) The Company may not place its Designator Code on any Foreign Air Carrier
       Flight on the shared International Route which would exceed the Differential number of
       Flights by more than two (2) (also accounting for the number of such Flights of the
       Company in this Market bearing the Foreign Air Carrier’s Designator Code and accounting
       for the number of Flights of the Affiliates of the Foreign Air Carrier in this Market).
          1-C-3-b-(2)-(a) For example, if the Company had two (2) regularly scheduled daily
          Flights and the Foreign Air Carrier and its Affiliates had six (6) between EWR and CDG
          during the applicable twelve-month measurement period in Section 1-C-3-b-(1), the
          Foreign Air Carrier Flight Differential would be four (4).
          1-C-3-b-(2)-(b) If during a subsequent Rolling Twelve-Month Period the Company had
          three (3) flights between EWR and CDG, all with the Foreign Air Carrier’s Designator
          Code, then the Company could place its Designator Code on a maximum of nine (9) of
          the Foreign Air Carrier Flights between EWR and CDG. This maximum of nine (9) of the
          Foreign Air Carrier Flights between EWR and CDG in this example is derived by adding
          4 (the Foreign Air Carrier Flight Differential) plus 3 (the number of Company Flights
          bearing the Foreign Air Carrier’s Designator Code) plus two (2) (the Section 1-C-3-b-(2)
          limit).
       1-C-3-b-(3) In the event the Company or a Company Affiliate enters into or maintains a
       Revenue Share Agreement with one or more Foreign Air Carriers, the Scheduled block
       hours of Company Flying between the United States and Territories and the foreign
       country or countries covered by the applicable Revenue Share Agreement in each Rolling
       Twelve-Month Period shall be not less than ninety percent (90%) of the Scheduled block
       hours of Company Flying between the United States and Territories and foreign countries
       covered by the applicable Revenue Share Agreement either:
          1-C-3-b-(3)-(a) During the twelve (12) full calendar months immediately prior to the
          effective date of this Agreement (if the Foreign Air Carrier was a party to a Revenue
          Share Agreement on the effective date of this Agreement) (a “Base Period”), or
          1-C-3-b-(3)-(b) During the twelve (12) full calendar months immediately prior to the
          effective date of the Revenue Share Agreement with the Foreign Air Carrier (if the
          Foreign Air Carrier was not a party to a Revenue Share Agreement on the effective date
          of this Agreement) (a “Base Period”).
       1-C-3-b-(4) If the aggregate of Scheduled block hours flown between the United States and
       Territories and Foreign Airports within the geographic scope of the applicable Revenue
       Share Agreement by all Domestic Air Carriers (excluding Company Flying) decreases during
       a Rolling Twelve-Month Period in comparison to the applicable Base Period, the
       percentage required by Section 1-C-3-b-(3) for that Rolling Twelve-Month Period shall be




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       reduced by fifty percent (50%) of the percentage of that decrease in Scheduled block
       hours.
    1-C-3-c Revenue Limitations Under Revenue Share Agreements with Foreign Air Carriers
    Measured on a Rolling Twelve-Month basis for each Revenue Share Agreement, the
    Company’s revenue from that Revenue Share Agreement associated with Flights that are 1)
    operated by the Company between the United States and Territories and Foreign Airports or
    between Foreign Airports, and 2) covered by the applicable Revenue Share Agreement, shall
    not exceed 130% of the total revenue onboard Company Flights that are 1) operated by the
    Company between the United States and Territories and Foreign Airports or between Foreign
    Airports, and 2) covered by the applicable Revenue Share Agreement. For purposes of this
    provision, total revenue onboard Company Flights equals the prorated segment passenger
    revenue as recognized by the Company’s business revenue accounting systems used in the
    Company’s public reports.
    For example, if, during a Rolling Twelve-Month period, 1) total revenue onboard Company
    Flights between the United States and Foreign Airports or between Foreign Airports covered
    by a Revenue Share Agreement equals $5.872B, and 2) the Company receives an additional
    $100M under the applicable Revenue Share Agreement associated with these same Flights
    (meaning that the Company receives total revenue under the Revenue Share Agreement
    associated with these Flights of $5.972B), then 3) the percentage of the Company’s revenue
    associated with these Flights under the Revenue Share Agreement ($5.972B) would be 101.7%
    of the Company’s onboard revenue for these Flights ($5.872B), because $5.972B divided by
    $5.872B results in 101.7%. Since this 101.7% would be smaller than the 130% limit, the
    Company in this example would be in compliance with Section 1-C-3-c.
    As another example: if, during a Rolling Twelve-Month period, 1) there are no Company
    Flights covered by a Revenue Share Agreement, meaning that total revenue onboard
    Company Flights under this Revenue Share Agreement equals $0, then 2) the Company may
    not receive any revenue under the applicable Revenue Share Agreement, because the
    Company receipt of such revenue would exceed the 130% limit in Section 1-C-3-c.
    1-C-3-d Identity
    The Company shall maintain a separate identity from Foreign Air Carriers engaged in Foreign
    Code Share Flying to the same extent as required in Section 1-C-2-d in regard to Domestic
    Code Share Carriers.
    1-C-3-e Cabotage
    The Company shall join the Association in strongly opposing any changes in U.S. law that would
    permit Foreign Air Carriers to engage in cabotage. If U.S. law is changed to permit cabotage,
    the Company shall not allow its Designator Code to be used on Flights of Foreign Air Carriers
    carrying local revenue passengers or cargo or mail traffic between airports within the United
    States and Territories.
    1-C-3-f Control




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    Without limitation to any other restriction set forth in this Section 1 and only as a clarification
    regarding limits on Company operations under this Section 1, the Company shall not continue
    any portion of an existing agreement or arrangement, or enter into any new agreement or
    arrangement, for creation of a new Foreign Air Carrier over which the Company has Control,
    and which operates Flights between the United States and Territories and any Foreign Airport
    (e.g., Aer Lingus joint venture).
 1-C-4 Block Space
 The Company may enter into block space arrangements with other carriers (i.e., the advance
 purchase or reservation of blocks of seats on other carriers for resale by the Company) only:
    1-C-4-a On flights which carry the Company’s Designator Code pursuant to Sections 1-C-1, 1-
    C-2 and 1-C-3, provided that the right to enter into block space arrangements does not
    override any restrictions in any of those Sections and may only be implemented to the extent
    consistent with such Sections;
    1-C-4-b On a limited number of occasions where United Vacations or Mileage Plus from time
    to time purchases block seats in order to provide connecting service as part of group vacation
    packages where such service or seats on such service are not available from the Company; or
    1-C-4-c On other occasions, limited in number and consistent with the Company’s limited
    practices as of the effective date of this Agreement, where the Company from time to time
    purchases seats for connecting passengers over routes on which the Company does not
    maintain operating authority.
 1-C-5 Enforcement
    1-C-5-a If in any three (3) consecutive calendar month period following the applicable date,
    the Flight Differential, block hour percentage, or ASM ratio requirements of Sections 1-C-2-c-
    (1), 1-C-2-c-(2), 1-C-3, 1-C-3-b-(2), or 1-C-3-b-(3) are not satisfied, then the Company shall
    promptly take any of the following actions as applicable within ninety (90) days of the date
    the Association notifies the Company that it has not satisfied the applicable requirement:
        1-C-5-a-(1) Add or delete the Company Designator Code to or from one or more Flights of
        the applicable air carrier(s), or
        1-C-5-a-(2) Add or delete the applicable air carrier’s Designator Code to or from the
        applicable Company Flights, or
        1-C-5-a-(3) Add Company Flying.
    1-C-5-b The Company shall be excused from compliance with Sections 1-C-2-c-(1), 1-C-2-c-(2),
    1-C-3, 1-C-3-b-(2), or 1-C-3-b-(3) for the period of time that a Circumstance Beyond the
    Company's Control is the cause of such non-compliance.
    1-C-5-c If the Company, a Domestic Code Share Carrier or a Foreign Air Carrier merges with
    another air carrier so as to form a single carrier with a single pilot seniority list and a single
    pilot collective bargaining agreement, the ASM Ratios, the Hub ASM Ratios and the Foreign
    Air Carrier Flight Differential provided for in Sections 1-C-2-c-(1), 1-C-2-c-(2), 1-C-3, 1-C-3-b-
    (2), or 1-C-3-b-(3), shall be appropriately adjusted by adding the relevant numbers of the other



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      air carrier party to the merger (and any flights of Domestic Code Share Flying scheduled to be
      operated by the Domestic Code Share Carrier in aircraft other than Regional Aircraft whose
      ASMs are counted as Domestic Code Share Carrier ASMs pursuant to Sections 1-C-2-c-(1) or
      1-C-2-c-(2)) to the relevant numbers of the Company or the Domestic Code Share Carrier, as
      the case may be, with such numbers to be measured during the twelve (12) full calendar
      months immediately prior to the effective date of the merger. In connection with such
      adjustment, in addition to the other carrier’s Hubs and Company Hubs, each Hub of the air
      carrier party to the merger shall be considered a Company Hub or a Hub of the other carrier,
      as the case may be, if such air carrier scheduled during any month in such six month period an
      average of fifty (50) or more daily departures therefrom.
1-D    Successorship
  1-D-1 Successorship Transactions
  The Company and its Parent shall require any successor, assign, assignee, transferee,
  administrator, executor and/or trustee of the Company or its Parent (a “Successor”) resulting
  from the transfer (in a single transaction or in multistep transactions) to the Successor of the
  ownership of fifty percent (50%) or more of the Equity of the Company or Parent or fifty percent
  (50%) or more of the value of the assets of the Company, or Control of the Company (a
  “Successorship Transaction”), to continue to recognize and treat with the Association as the
  representative of the United Pilots, to employ or cause the Company or Successor, as applicable,
  to continue to employ the United Pilots in accordance with the provisions of the Agreement and
  to assume and be bound by the Agreement, and, if the Successor is an air carrier or an Entity that
  Controls an air carrier, to abide by the Merger Transaction provision set forth in Section 1-D-4.
  1-D-2 Successorship Agreements.
  The Company and its Parent shall not consummate a Successorship Transaction unless the
  potential Successor agrees in writing, as an irrevocable condition of the Successorship
  Transaction, to assume and be bound by the Agreement, to recognize the Association as the
  representative of the Company’s pilots, to guarantee that the pilots on the United Pilots’ System
  Seniority List shall be employed by the Successor in accordance with the provisions of the
  Agreement and, if the Successor is an air carrier or an Entity that Controls an air carrier, to abide
  by the Merger Transaction provisions set forth in Section 1-D-4.
  1-D-3 Competing Proposal
  In the event the Company or its Parent receives a proposal (a “Proposal”) for a transaction which
  would result in a Successor if completed, and the Company or its Parent determines to pursue or
  facilitate the Proposal, the Company or its Parent shall in good faith seek to provide the
  Association with the opportunity to make a competing Proposal at such time and under such
  circumstances as the Board of Directors of UCH or the Company reasonably determines to be
  consistent with its or their fiduciary duties.
  1-D-4 Merger Transactions
  If the acquiring Entity in a Successorship Transaction is an air carrier or an Entity that Controls an
  air carrier or if the Company or its Parent acquires Control of or merges with another air carrier




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 or Entity that Controls an air carrier other than a United Express Carrier (any of the foregoing, a
 “Merger Transaction”), the following provisions shall apply to the acquiring or acquired carrier, as
 applicable (the “Other Air Carrier”) and the Company (collectively, the “Carrier Parties”).
    1-D-4-a Following announcement of a Merger Transaction, the Carrier Parties shall promptly
    commence negotiations with the Association and the collective bargaining representative, if
    any, of pilots employed by the Other Air Carrier (collectively, the “Union Parties”) for a
    Transition and Process Agreement that shall include the provisions in Sections 1-D-4-a-(1)
    through 1-D-4-a-(10) (unless all parties to the negotiation mutually agree otherwise), and such
    other terms as the parties agree upon. However, unless the parties agree otherwise, the
    United Pilots shall receive the following protections until the Operational Merger Date or the
    parties shall take the following actions, in either case whether or not the parties complete a
    Transition and Process Agreement.
        1-D-4-a-(1) The flight operations of the Company and the Other Air Carrier shall remain
        separated, with pilots employed by each carrier operating each carrier’s pre-merger
        aircraft under the existing collective bargaining agreement(s) and seniority lists, until the
        implementation of an integrated seniority list pursuant to Section 1-D-4-a-(2) and a single
        collective bargaining agreement (the “Operational Merger Date”).
        1-D-4-a-(2) The Carrier Parties shall provide the pilots employed by the Company and the
        Other Air Carrier with the seniority integration rights governed by Association Merger
        Policy if both pre-transaction pilot groups are represented by the Association and by the
        McCaskill-Bond Amendment and Sections 3 and 13 of the Allegheny-Mohawk Labor
        Protective Provisions if both pilot groups are not so represented. The Association agrees
        that it shall promptly invoke such procedures, provided that such procedures need not be
        completed and a seniority list need not be established until completion of a single
        collective bargaining agreement.
        1-D-4-a-(3) The Association shall promptly initiate proceedings before the National
        Mediation Board (“NMB”) for a determination that the Company and the Other Air Carrier
        constitute a single carrier for purposes of collective bargaining under the Railway Labor
        Act and for designation of the post-merger representative of the combined pilot group.
        1-D-4-a-(4) The Carrier Parties shall promptly begin negotiations with the
        representative(s) of both carrier’s pilots (i.e., the Union Parties prior to an NMB decision
        and the single collective bargaining representative certified by the NMB thereafter) for a
        single collective bargaining agreement governing the merged operations of the carrier
        with such negotiations to take place under Section 6 of the Railway Labor Act (i) if the
        Agreement or the collective bargaining agreement or agreements of the other Air Carrier
        or Air Carriers in the Air Carrier Transaction is then amendable or becomes amendable or
        (ii) if not, then at the option of either the Company or the Association. Until the effective
        date of a single collective bargaining agreement or as otherwise agreed by the Association,
        the Agreement shall continue to apply to the United Pilots.
        1-D-4-a-(5) The Carrier Parties shall forbear from interchanging or transferring pilots or
        aircraft between them.




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       1-D-4-a-(6) The Carrier Parties shall assure that until the Operational Merger Date the
       United Pilots shall have the right to operate all aircraft on hand at the Company, all aircraft
       on firm order to the Company or an Affiliate of the Company (other than an Affiliate
       engaged only in United Express Flying) and all aircraft acquired by the Company after the
       public announcement of the Air Carrier Transaction (other than aircraft acquired as a
       result of the Air Carrier Transaction); provided, however, that nothing herein shall be
       construed to prevent fleet reductions which the Company can demonstrate are
       attributable to the retirement of existing aircraft in the normal course of business, to
       casualty loss or to economic reasons not related to the Air Carrier Transaction.
       1-D-4-a-(7) The Carrier Parties shall assure that, in each Rolling Twelve-Month Period until
       the effective date of the integrated pilot seniority list, the ratios of Scheduled aircraft block
       hours of Company Flying (i) on single-aisle aircraft, and (ii) on twin-aisle aircraft, to
       Scheduled aircraft block hours operated by each air carrier in the Air Carrier Transaction
       (x) on single-aisle aircraft, and (y) on twin-aisle aircraft, respectively, shall in each case
       equal or exceed ninety-five percent (95%) of the same ratio determined for the period of
       twelve (12) consecutive calendar months immediately preceding the closing of the Air
       Carrier Transaction. The Company shall be excused from compliance with such minimum
       Scheduled aircraft block hours for the period of time that either a Circumstance Beyond
       the Company’s Control or the retirement of aircraft in the normal course of business as
       scheduled before the agreement that led to the Air Carrier Transaction causes the
       Company to reduce or cancel service, or a governmental agency requirement causes the
       Company to reduce or cancel service as a condition of approval of the Air Carrier
       Transaction, and that the listed event is the cause of such non-compliance.
       1-D-4-a-(8) The Carrier Parties shall assure that no United Pilot as of the date of the
       announcement of the proposed Air Carrier Transaction shall be placed on furlough from
       that date until a date not less than one (1) year following the Operational Merger Date.
       1-D-4-a-(9) The Carrier Parties shall meet promptly with the Association to negotiate the
       other possible fence, protective, and transition terms to be in effect until the Operational
       Merger Date. The Parties shall work together to integrate marketing, reservations systems
       and livery, to take the steps necessary to secure approval from the Federal Aviation
       Administration (“FAA”) for operation under a single operating certificate, and to take such
       other steps as will foster their mutual goal of achieving a Complete Operational Merger
       (meaning, the operation of the two carriers under a single FAA operating certificate, a
       single transportation system under the Railway Labor Act (“RLA”), and under a joint
       collective bargaining agreement with an integrated pilot seniority list) at the earliest
       reasonable time.
       1-D-4-a-(10) The Operational Merger Date shall be no later than ninety (90) days following
       negotiation and ratification, if necessary, of a single collective bargaining agreement and
       acceptance by the Carrier Parties of the integrated seniority list.
    1-D-4-b The Carrier Parties shall accept the outcome of the seniority list integration process
    set forth in Section 1-D-4-a-(2), provided that, solely with regard to a seniority list integrated
    under Association policy, none of the attendant conditions and restrictions therein: i) require



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       a system flush whereby pilots may displace any other pilots from the latter’s position; ii)
       require a pilot to be compensated for flying not performed (e.g., differential pay for a position
       not flown); iii) require the cancellation of a vacancy or displacement award for a pilot who has
       commenced training for that position by attending ground school at the training facility; iv)
       significantly increase the Company’s costs; or v) provide that a pilot shall be displaced from
       his position by a pilot of the other pre-merger pilot group solely as the result of the
       implementation of, or the expiration of, any condition or restriction.
1-E      Other Labor Protective Provisions
If the Company disposes of or transfers to an air carrier (the “Transferee”) (by sale, lease or other
transaction, whether directly or indirectly through an Affiliate or lessor or vendor to the Transferee)
either (i) seventy-five percent (75%) or more of the gates and other facilities used in Company Flying
at any Company Hub or (ii) aircraft or route authority which produced fifteen percent (15%) or more
of the Company’s operating revenues, block hours, or ASMs during the twelve (12) months
immediately prior to the date of the agreement to transfer such aircraft or route authority (the
“Transaction Date”), net of revenues, block hours or ASMs that are produced by aircraft or route
authority that were placed into service during the same period (any such transfer, a “Substantial Asset
Sale”), then:
   1-E-1 Offer of Employment to United Pilots.
   The Company shall require the Transferee to offer pilot employment to eligible United Pilots. The
   eligibility criteria shall be determined by agreement between the Company and the Association
   and shall be reasonably related to the assets transferred, the interests of the United Pilots and
   the Company, and the nature and timing of the transaction among other issues. If the Association
   and the Company are unable to agree upon eligibility criteria that are consistent with the
   foregoing considerations, the System Board of Adjustment shall determine such eligibility criteria
   pursuant to the expedited procedures set forth in Section 1-K-1 (the “Transferring Pilots”). The
   number of pilot employment opportunities for Transferring Pilots shall be, as measured in the
   twelve (12) months prior to the Transaction Date, the sum of (i) the average monthly pilot staffing
   actually utilized in the operation of the aircraft transferred to the Transferee in connection with
   the Substantial Asset Sale plus (ii) the average monthly pilot staffing actually utilized in the
   operation of the route authority transferred to the Transferee in connection with the Substantial
   Asset Sale to the extent such pilot staffing is not included in the calculation of clause (i) above.
   Offers of employment that are rejected by a United Pilot shall in turn be offered to other United
   Pilots under the eligibility criteria determined under this Section 1-E-1, until such opportunities
   have been exhausted.
   1-E-2 Seniority Integration
   The Company shall require the Transferee to provide the Transferring Pilots with the seniority
   integration rights provided in the McCaskill-Bond Statute and Sections 3 and 13 of the Allegheny-
   Mohawk LPPs except that the integration of the Transferring Pilots into the Transferee’s seniority
   list shall be governed by Association Merger Policy if both pre-transaction pilot groups are
   represented by the Association. The Company shall require each Transferee to provide the
   seniority integration rights specified in the preceding sentence in connection with a Substantial




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      Asset Sale in a written document enforceable against the Transferee by the Association and/or
      the Transferring Pilots.
1-F         Labor Disputes
      1-F-1 The Agreement contains no contractual prohibition whatsoever on the ability of the
      Association and the United Pilots to honor lawful picket lines.
      1-F-2 The Association and/or the United Pilots are not prohibited from:
         1-F-2-a Refusing to layover at a struck hotel or other struck facility;
         1-F-2-b Refusing to deadhead on carriers whose employees are engaged in a lawful strike, as
         long as alternatives are reasonably available; and
         1-F-2-c Engaging in a concerted refusal, called by the Association, to perform pilot work or
         services on flights where the Company, pursuant to an agreement or arrangement with
         another air carrier, is performing that air carrier’s flying in response to a labor dispute and that
         air carrier’s employees are engaged in a lawful strike.
1-G        Foreign Ownership and Bases
      1-G-1 The Company shall continue to be a Domestic Air Carrier subject to the Railway Labor Act,
      as amended.
      1-G-2 The Company shall maintain its world headquarters, executive offices, and offices for senior
      Flight Operations personnel in the fifty (50) United States.
      1-G-3 In the event the Company opens a Pilot Base outside of the United States and Territories,
      the Company’s Pilots assigned to such Base shall be afforded all rights under this Agreement and
      the Railway Labor Act. The Company shall provide notice to the Association and meet and confer
      regarding a decision to open such a Base prior to posting a bid for vacancies.
1-H         Board Seat
      1-H-1 Consistent with the provisions of Article Fourth, Part II of the amended and restated
      certificate of incorporation of UCH in effect on July 1, 2012 (the “Restated Certificate”), the
      Association’s United Airlines Master Executive Council (“MEC”) shall be entitled to elect one
      director (a “Pilot Director”) to the UCH Board of Directors (or a successor corporation solely to the
      extent specifically set forth in Article Fourth, Part II of the Restated Certificate). The parties
      acknowledge and agree that the provisions of Article Fourth, Part II of the Restated Certificate
      satisfy the requirements of the preceding sentence and that such entitlement shall be subject to
      all of the terms and conditions set forth in Article Fourth, Part II of the Restated Certificate.
      1-H-2 Nothing in this Section 1-H shall be construed to limit the MEC in establishing its own
      procedures for the designation, removal and replacement of the Pilot Director without the
      consent of any other party to the extent permitted by law, provided that such procedures do not
      conflict with the provisions of the Restated Certificate.
1-I        General Furlough Protection
      1-I-1 No Pilot on the Seniority List as of January 23, 2016 shall be placed on furlough on less than
      ninety (90) days advance written notice.



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      1-I-2 No Pilot on the Seniority List as of the date of signing of this Agreement shall be placed on
      furlough if the staffing at the time of notice or at time of furlough is less than the manpower
      requirements of Section 8 for any position.
      1-I-3 No Pilot shall be placed on furlough as the result of the Company’s acquisition of Control of
      another air carrier or of another air carrier’s acquisition of Control of the Company, commencing
      on the date of consummation of the agreement resulting in the acquisition of Control and
      continuing for twenty-four (24) months following the closing of such agreement between the
      Company and the other air carrier; the protections provided by Section 1-I-3 are separate and
      independent from the protections provided by Section 1-D-4-a-(8).
      1-I-4 The Company shall be excused from compliance with the provisions of Sections 1-I-1, 1-I-2,
      and 1-I-3 in the event a Circumstance Beyond the Company’s Control is the cause of such
      noncompliance.
1-J        Review Committee
      1-J-1 A standing committee, consisting of two (2) Association representatives and two (2)
      Company representatives (plus additional representatives if deemed appropriate by the
      Association and the Company) (the “Related Carrier Review Committee” or “RCRC”) shall be
      maintained by the parties. The RCRC may establish such subcommittees as it deems appropriate.
      The RCRC and its subcommittees shall meet as often as they deem necessary, but no less than
      quarterly, in order to implement and monitor compliance with this Section 1.
      1-J-2 The Company shall provide the RCRC, on a monthly basis, (i) all information necessary to
      monitor and enforce the terms and conditions established in this Section 1, (ii) the information
      required by Letters of Agreement 03-06 and 04-03; and (iii) advance notice of substantive changes
      to Revenue Share Agreements. When this information involves proprietary, sensitive or
      confidential information concerning either the Company or any other carrier, the RCRC shall
      review such information under a confidentiality agreement with the same terms as the
      confidentiality agreement currently in effect between the Company and the Association with such
      modifications, if any, as are acceptable to the Association and the Company.
      1-J-3 The RCRC shall review all new and modified agreements concerning the Company’s
      relationships with other air carriers as governed by this Section 1 in order to ensure compliance
      with the terms of this Section 1. In reviewing agreements with United Express Carriers, the RCRC
      shall make such recommendations to the Company as the RCRC deems appropriate for the
      purpose of strengthening the Company’s contractual relationships with United Express Carriers
      and protecting the Company’s feed.
      1-J-4 The parties shall utilize appropriate aspects of the Notice of Proposed Decision Making
      (“NPDM”) procedures currently utilized by the System Schedule Committee in connection with a
      review of the United Express Carriers aimed at ensuring that all United Express Carriers maintain
      the highest possible quality assurance and flight safety programs and provide a product that
      meets the Company’s high quality standards.




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1-K         Remedies
      1-K-1 A grievance filed by the Association alleging a violation of this Section 1 shall, at the request
      of either party, bypass the initial steps of the grievance process and be submitted and heard on
      an expedited basis directly before the System Board of Adjustment sitting with a neutral
      arbitrator. The dispute shall be heard by the System Board of Adjustment no later than thirty (30)
      days following the submission of the grievance to the System Board and decided no later than
      thirty (30) days after the record is closed in the hearing, unless the parties agree otherwise in
      writing.
      1-K-2 If the System Board decides that the Company has violated any part of this Section 1, the
      System Board shall direct the Company to comply with the Agreement and shall fashion an
      appropriate remedy for the harm caused by the Company’s failure to comply with the Agreement.
1-L         Definitions
The following definitions shall apply to the capitalized terms in this Section 1:
      1-L-1 “Affiliate” of Entity A means, any other Entity which directly or indirectly Controls, is
      Controlled by or is under common Control with Entity A.
      1-L-2 “Circumstance Beyond the Company’s Control” includes but is not limited to an act of
      nature; an ongoing labor dispute; grounding or repossession of a substantial number of aircraft
      operated by the Company by a government agency or court order; loss or destruction of the
      Company’s aircraft; involuntary reduction in flight operations due either to a governmental
      action(s)/requirement(s) or to a decrease in available fuel supply or other critical materials for the
      Company's operations; revocation of a Company operating certificate; war emergency; a terrorist
      act; or a substantial delay in the delivery of aircraft scheduled for delivery, provided that the
      applicable occurrence has a material and substantial impact on the Company. The phrase
      "Circumstance Beyond the Company's Control" does not include any economic or financial
      considerations including, but not limited to, the price of fuel, aircraft or other supplies, the cost
      of labor, the level of revenues, the state of the economy, the financial state of the Company, or
      the relative profitability or unprofitability of the Company's then-current operations in the
      absence of the circumstances described in the preceding sentence.
      1-L-3 “Code Share Agreement” means an agreement or arrangement among two (2) or more air
      carriers or their Affiliates, permitting one (1) of the air carriers to use, in its marketing,
      reservations, ticketing, and operations, the other air carrier’s Designator Code.
      1-L-4 “Company” means United Airlines, Inc.
      1-L-5 “Company Aircraft” includes all aircraft owned or leased by the Company or a Company
      Affiliate other than Regional Aircraft. Company Aircraft do not include aircraft that have been
      sold, leased or transferred.
      1-L-6 “Company Fleet” means Company Aircraft in service or undergoing maintenance, and
      operational spares.
      1-L-7 “Company Hub” means CLE, DEN, EWR, GUM, IAD, IAH, LAX, ORD, SFO, and SEA (so long as
      the Company or a Foreign Air Carrier operating under a Revenue Share Agreement with the




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 Company operates trans-Pacific flights out of SEA), and any other airport identified as a hub in
 UAL’s Annual Report on Form 10-K.
 1-L-8 “Control”: Entity A shall be deemed to “Control” Entity B if Entity A, whether directly or
 indirectly,
    1-L-8-a owns securities that constitute, are exercisable for or are exchangeable into fifty
    percent (50%) or more of (i) Entity B’s outstanding common stock or (ii) securities entitled to
    vote on the election of directors of Entity B; or otherwise owns fifty percent (50%) or more of
    the Equity of Entity B; or
    1-L-8-b maintains the power, right, or authority--by contract or otherwise--to direct, manage
    or direct the management of all, or substantially all, of Entity B’s operations or provides all or
    substantially all of the controlling management personnel of Entity B; or
    1-L-8-c maintains the power, right or authority to appoint or prevent the appointment of a
    majority of Entity B’s Board of Directors or similar governing body; or
    1-L-8-d maintains the power, right or authority to appoint a minority of Entity B’s Board of
    Directors or similar governing body, if such minority maintains the power, right or authority
    to appoint or remove any of Entity B’s executive officers or any committee of Entity B’s Board
    of Directors or similar governing body, to approve a material part of Entity B’s business or
    operating plans or to approve a substantial part of Entity B’s debt or equity offerings.
 1-L-9 “Designator Code” means a two (2) character (or three (3) character if adopted) designator
 issued by the International Air Transport Association (“IATA”) to a specific air carrier to identify
 Flights or series of Flights operated by that air carrier, for publication as Scheduled flying or a
 Scheduled Flight.
 1-L-10 “Domestic Air Carrier” means an air carrier as defined in 49 U.S.C. Section 40102(a)(2)
 holding an air carrier certificate issued by the Administrator of the FAA under 14 C.F.R. Section
 119.5.
 1-L-11 “Domestic Code Share Carrier” means a Domestic Air Carrier other than the Company that
 engages in flying under a Code Share Agreement with the Company (but not under or pursuant to
 a Livery Agreement or Revenue Share Agreement with the Company or a Company Affiliate), and
 also means any Domestic Air Carrier that conducts Flights using the Designator Code and brand
 name of that Domestic Code Share Carrier (e.g., US Airways Express) under a Revenue Share
 Agreement to the extent such Flights are operated with Regional Aircraft.
 1-L-12 “Domestic Code Share Flights” or “Domestic Code Share Flying” means flying operated by
 a Domestic Code Share Carrier under a Code Share Agreement with the Company.
 1-L-13 “Entity” means any business form of any kind including without limitation any natural
 person, corporation, company, unincorporated association, division, partnership, group of
 Affiliated Entities acting in concert, trustee, trust, receivership, debtor-in-possession,
 administrator or executor.
 1-L-14 “Equity” means: (i) common stock or other securities that carry the right to vote for one or
 more members of a board of directors or similar governing body, or shares or interests in a




                                         Appx86
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 partnership or limited partnership which shares or interests have general voting rights (all of the
 foregoing being collectively referred to as “Common Equity”) and (ii) securities that are then
 currently or in the future exchangeable into, exercisable for, or convertible into Common Equity.
 1-L-15 “Flight” means the one-way operation of an aircraft between two airports with no
 Scheduled intervening stop.
 1-L-16 “Foreign Air Carrier” means an air carrier that is not a Domestic Air Carrier.
 1-L-17 “Foreign Airport” means an airport outside the United States and its Territories.
 1-L-18 “Foreign Code Share Flight” or “Foreign Code Share Flying” means a Flight or Flights by a
 Foreign Air Carrier, operating under and pursuant to a Code Share Agreement with the Company
 or a Company Affiliate.
 1-L-19 “Hub” of an air carrier other than the Company means an airport from which the air carrier,
 during the six (6) consecutive calendar months prior to the month for which a measurement is
 being made, Scheduled its own operation of an average of fifty (50) or more daily departures.
 1-L-20 “Industry Standard Interline Agreement” means an agreement or other arrangement
 between two (2) carriers or among three (3) or more carriers, such as the International Air
 Transport Association’s “Multilateral Interline Traffic Agreements,” establishing rights and
 obligations relating to the transportation of through passengers and/or through shipments by the
 party carriers.
 1-L-21 “International Route” means a Market in which one (1) or both airports are in a foreign
 country.
 1-L-22 “Jet Aircraft” means an aircraft powered by one (1) or more turbine engines with turbofan
 or turbojet propulsion, and includes future propulsion types whether ducted or unducted.
 1-L-23 “Livery Agreement” means an agreement or arrangement permitting an air carrier to
 display on its aircraft another air carrier’s name, logo, or aircraft paint scheme.
 1-L-24 “Market” means a pair of airports, e.g., ORD-MSP.
 1-L-25 “New Small Narrowbody Aircraft” means a CS100, E190 or E195 aircraft, provided that such
 aircraft is neither in the Company Fleet as of the date of signing of this Agreement nor acquired
 through merger or acquisition of another air carrier.
 1-L-26 “Non-Stop” means a flight in a Market that does not include a Scheduled intervening take-
 off and landing.
 1-L-27 “Operated in United Express Flying” or “United Express Flying” (whether or not “operated”
 is capitalized) when used in reference to aircraft (examples include phrases such as, “50-Seat
 Aircraft operated in United Express Flying” or “50-Seat Aircraft in United Express Flying”) means
 or refers to aircraft in service, undergoing maintenance, or used for operational spares at a United
 Express Carrier.
 1-L-28 “Parent” refers to United Continental Holdings, Inc. (“UCH”) or any other Entity that has
 majority control of the Company, whether directly or indirectly, through the majority control of
 other Entities that have majority control of the Company.




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 1-L-29 “Regional Aircraft” means one (1) or more (including all) of the following aircraft (as defined
 below): 37-Seat Turboprop Aircraft, 50-Seat Aircraft, 70-Seat Aircraft and 76-Seat Aircraft.
 “37-Seat Turboprop Aircraft” means Turboprop Aircraft certificated in the United States for
 operations with thirty-seven (37) or fewer passenger seats and with a maximum certificated gross
 takeoff weight in the United States of 37,000 or fewer pounds.
 “50-Seat Aircraft” means aircraft certificated in the United States for fifty (50) or fewer passenger
 seats and a maximum certificated gross takeoff weight in the United States of 65,000 or fewer
 pounds. The definition of “50-Seat Aircraft” does not include “37-Seat Turboprop Aircraft.” If a
 50-Seat Aircraft is certificated for fifty (50) or fewer passenger seats when first placed into service
 by a United Express Carrier but is subsequently certificated for operation in the United States with
 a capacity in excess of fifty (50) passenger seats, this aircraft type may continue to be operated
 by United Express Carriers as long as all United Express Carriers operate such aircraft type with no
 more than 50 passenger seats and no more than 65,000 pounds gross takeoff weight.
 “70-Seat Aircraft” means aircraft configured with more than fifty (50) passenger seats but no more
 than seventy (70) passenger seats, and certificated in the United States with a maximum gross
 takeoff weight of 86,000 or fewer pounds.
 “76-Seat Aircraft” means aircraft configured with more than seventy (70) passenger seats but no
 more than seventy-six (76) passenger seats, and certificated in the United States for ninety (90)
 or fewer passenger seats and with a maximum United States certificated gross takeoff weight of
 86,000 or fewer pounds.
 1-L-30 “Revenue Share Agreement” means an agreement or arrangement between or among two
 (2) or more air carriers or their Affiliates, providing for any form of:
    •   Capacity purchase,
    •   Fees for Scheduled block hours or departures,
    •   Revenue sharing from flight operations,
    •   Profit sharing from flight operations,
    •   Margin sharing from flight operations,
    •   Purchase of blocks of passenger seats on an air carrier for sale or resale by a different air
        carrier.
 For purposes of this definition, the following provisions in an agreement or arrangement do not
 make it a Revenue Share Agreement: (i) reimbursement of distribution costs, or (ii) payments or
 receipts under standard industry prorate agreements, standard industry interline service charge
 agreements, standard industry re-accommodation agreements, or standard industry revenue
 settlement agreements.
 1-L-31 “Rolling Twelve-Month Period” means a period of twelve (12) consecutive calendar months
 beginning on the first day of a calendar month, e.g., January-December, February-January.
 1-L-32 “Round Trip” means a pair of flights to and from one city in a Market to the other, e.g. ORD-
 STL-ORD.



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 1-L-33 “Schedule,” “Scheduled,” or “Scheduling” with respect to flying or a Flight means flying or
 a Flight that is published in the OAG, Innovata, or successor system.
 1-L-34 “Turboprop Aircraft” means an aircraft, other than a Jet Aircraft. A Turboprop Aircraft does
 not include future engine configurations such as unducted fans.
 1-L-35 “UCH” means United Continental Holdings, Inc., its Successors, and any other Entity of any
 name that acquires Control of the Company.
 1-L-36 “United Express Carrier” means a Domestic or Foreign Air Carrier that operates United
 Express Flying.
 1-L-37 “United States,” when referring to geographical extent means only the States of the United
 States of America and the District of Columbia.
 1-L-38 “United States and Territories” means the United States and its territories and possessions,
 including but not limited to the Commonwealth of Puerto Rico and Guam.




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 MOU 27 – Instructor/Evaluator and FRMS          Incorporated into Section 23
 Flights
 MOU 28 – LOA 37 Clarifications                  MOU 16-01
 MOU 29 – FSAP                                   MOU 16-02
 MOU 30 – Treatment of Canceled Post-            Incorporated into Section 20
 Loaded Unpaid Absence
 MOU 31 – Leaves of Absence and Vacation         Incorporated into Section 12
 Pay/Sick Accrual
 MOU 32 – Administration of LTD Payroll          MOU 17-01
 Deductions


25-C      ALPA Ratification Process
   25-C-1 No collective bargaining agreement (including Letters of Agreement or “LOAs”), shall
   become effective between United Airlines and ALPA without the signature of ALPA’s President,
   unless both parties specifically consent that an agreement may begin on an interim basis pending
   the receipt of the President’s signature. On ALPA’s behalf, consent to proceed on an interim basis
   may be provided by the United MEC Chairman.
   25-C-2 Notwithstanding Section 25-C-1, the parties agree that an MOU may be implemented
   without the signature of ALPA’s President. An MOU is an agreed upon interpretation or
   application of a specific term or condition of employment already in existence and requires, on
   ALPA’s behalf, only the approval and signature of the MEC Chairman.
   25-C-3 No LOA, MOU or protocol may be entered into, even on an interim basis, by any MEC
   Committee or individual MEC member or officer without the approvals set forth in this Section
   25-C.


IN WITNESS WHEREOF, the parties hereto have signed this Agreement this 18th day of December,
2012.
 For United Airlines, Inc.:                        For the Air Line Pilots Association, International:



 Mike Bonds                                        Captain Donald L. Moak
 Executive Vice President                          President
 Human Resources and Labor Relations               Air Line Pilots Association, International




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Captain Fred Abbott                       Captain Jay Heppner
Senior Vice President                     Chairman
Flight Operations                         UAL MEC



P. Douglas McKeen                         Captain Jay Pierce
Senior Vice President                     Chairman
Labor Relations                           CAL MEC



Dan Casey                                 Captain Dave Owens
Vice President                            Negotiating Committee Chairman
Labor Relations                           CAL MEC



                                          First Officer Phil Otis
                                          Negotiating Committee Chairman
                                          UAL MEC



                                          First Officer Brad Hunnewell
                                          Negotiating Committee Vice Chairman
                                          UAL MEC



                                          First Officer Jeff Brown
                                          Negotiating Committee
                                          CAL MEC



                                          Captain Corey Ferguson
                                          Negotiating Committee
                                          UAL MEC



                                          First Officer Phil Lomness
                                          Negotiating Committee
                                          CAL MEC




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                                     MOU 12-07 Parent Agreement



                          UNITED CONTINENTAL HOLDINGS, INC.
                                UNITED AIR LINES, INC.
                              CONTINENTAL AIRLINES, INC.

December 18, 2012

Lee Moak, President
Air Line Pilots Association
1625 Massachusetts Avenue, N.W.
Washington, D. C. 20036

Re: Corporate Structure


Dear Captain Moak:

I write to confirm the following agreements between the Air Line Pilots Association, International
(“ALPA”) and United Continental Holdings, Inc. (“UCH”), United Air Lines, Inc. (“United”) and
Continental Airlines, Inc. (“Continental”) (collectively, the “Company”) in the negotiations leading to
the 2012 ALPA-United collective bargaining agreement (the “Agreement”). Defined terms in this letter
have the same meaning as in Section 1 of the Agreement.

   1. Upon the effective date of the Agreement, Continental (to the extent it remains a legally
      organized entity) will be bound by the Agreement in the same manner as United, and every
      reference in the Agreement to the “Company” or “United” shall be deemed to refer to
      Continental so long as it exists as a legally organized entity.

   2. UCH agrees that it is an Affiliate of United and that it is bound by Section 1 of the Agreement
      in the same manner as United. UCH and United further agree that they will not conclude,
      facilitate or permit any agreement or arrangement that establishes any Affiliate, other than a
      Feeder Carrier, that is an air carrier, Controls an air carrier or is under the Control of an air
      carrier, unless the Affiliate agrees in writing to be bound by Section 1 of the Agreement in the
      same manner as UCH and United.

   3. The potential corporate mergers or consolidation of United and Continental or of United,
      Continental, and UCH shall not trigger any successorship obligations under Section 1-D of the
      Agreement or otherwise be deemed a violation of the agreements between the parties.

   4. Any disputes between ALPA and United, between ALPA and Continental, between ALPA and
      UCH, or between ALPA and any entity arising out of the merger or consolidation of such
      corporations, arising out of grievances or the interpretation or application of the Agreement,
      shall fall within the jurisdiction of the ALPA-United Pilots’ System Board of Adjustment.



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Nothing in this letter shall be construed to require a corporate merger of the entities described above
or to require any particular form of corporate structure, provided that the operating entity or entities
and parent corporation, if any, remain bound by the Agreement, and provided further that UCH, United
and Continental will execute a Complete Operational Merger in accordance with the Transition and
Process Agreement between Continental Airlines, Inc., UAL Corporation, and United Air Lines Inc.,
dated September 26, 2010.

This letter becomes effective on the date of signing and will remain in effect concurrent with the
Agreement.


Sincerely,



_____________________
Michael P. Bonds
Executive Vice President, Human Resources and Labor Relations
United Continental Holdings, Inc., United Air Lines, Inc. and Continental Airlines, Inc.



Accepted and agreed to this 18th day of December, 2012.



_________________________
Captain Donald L. Moak, President
Air Line Pilots Association, International




                                             Appx93
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                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

ERIC WHITE, on behalf of himself and
others similarly situated,

                   Plaintiff,                                    Case No. l9 CV 001l4

         V.                                                      Hon. Charles R. Norgle

UNITED AIRLINES, INC. and LINITED
CONTINENTAL HOLDINGS, INC.,

                   Defendants.

                                                       ORDER

The pending motions to appear pro hac vice [5] and [4] are granted. Defendants' motions to
dismiss [17] and [20] filed before Plaintiff s amended complaint are denied as moot. Defendants'
operative motion to dismiss [31] is granted. The case is dismissed with prejudice. The Clerk is
directed to enter judgment in favor of Defendants pursuant to Fed. R. Civ. P. 58.

                                                   STATEMENT

         Plaintiff Eric White brings this putative class action under the Uniformed Services
Employment and Reemployment Act ("USERRA"), 38 U.S.C. $ 4301 et seq., on behalf of certain
current and former employees of United Continental Holdings, Inc. ("UCH") and United Airlines,
Inc. ("UA") (collectively, "Defendants"). Plaintiff claims that Defendants, in violation of
USERRA, failed to properly compensate employees who took short-term military leave and failed
to properly credit those employees under the UCH Profit Sharing Plan ("the Plan"). In essence,
Plaintiff claims Defendants should have paid him for his time on short-term military leave.
Pending before the Court is Defendants' motion to dismiss under Fed. R. Civ. P. l2(bX6). For the
following reasons, the motion is granted with prejudice.
        The facts relevant to the determination of this matter are straightforward.r Plaintiff is a
pilot for UA and for the United States Air Force Reserve. Plaintiff has served continuously as a
pilot in the Air Force, including on active duty and on reserve duty, since 2000, which has
overlapped with his employment with Defendants (or their predecessor company) since 2005.
During that period, Plaintiff has routinely taken military leave, both short- and long-term, and
Plaintiff (and other similarly situated individuals) has not been compensated when he takes short-
term military leave2 and has not been credited within the Profit Sharing Plan for that time (as the
amount due under the Plan based in part on wages earned). PlaintifT alleges that this policy of
non-payment has been in place at least since 2010 and may span back to 2006. On the other hand,

I These facts are drawn directly from Plaintiff s amended complaint and, at this stage of the litigation, are taken as
true by the Court.
2
  In the amended complaint, Plaintiff describes shorl-term leave as leave of less than 30 days.




                                                       Appx94
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Defendants do pay employees for other types of short-term leave, including for jury duty and sick
days, which Plaintiff claims are "comparable" forms of leave.
        With respect to the Plan, Defendants offer a profit sharing award for eligible employees.
The amount of profit each employee shares in is calculated based on a formula that includes, as
part of the pay-out calculation, the wages the employee has earned in the relevant time period.
Thus, if Plaintiff s wages increased based on payment for short-term military leave, his piece of
the profit-sharing pie would grow proportionally, subject to the formula.
         From these facts, Plaintiff brings three specific claims (each based on USERRA): first, per
38 U.S.C. $ 4316(bXl),3 Plaintiff alleges it was a violation fbr Defendants to fail to pay wages
during periods of short-term military leave; second, in essence, Plaintiff alleges Defendants' initial
violations created an additional residual violation of 38 U.S.C. $ 4316(bXl) because it caused an
improper reduction in the amount the employees would recieve under the Profit Sharing Plan; and,
third, Plaintiff alleges that Defendants' failure to properly pay under the Profit Sharing Plan was
an independent violation of 38 U.S.C. S 4318, which places certain requirements on employee
pension benefit plans.
         Defendants counter in several ways-including with a statutory interpretation-based
argument that USERRA does not entitle Plaintiff to the type of pay for short-term military service
that he claims. In the Court's view, this argument acts as a first domino that, if it falls, necessarily
topples the second claim. The Court thus tums first to this issue before a discussion of Plaintiff s
third claim.
         In deciding this motion to dismiss, the Court accepts "all well-pleaded allegations of the
complaint as true and view[s] them in the light most favorable to the plaintiff." Indep. Trust Corp.
v. Stewart Info. Servs. Com., 665 F.3d 930,934 (7th Cir. 2012). To survive a motion to dismiss
under Rule 12(b)(6), a plaintiff s complaint "must actually suggest that the plaintiff has a right to
relief, by providing allegations that raise a right to relief[.]" Id. at 934 (internal quotation marks
and citation omitted) Legal conclusions pleaded within Plaintiff s complaint are not entitled to be
taken as true. R.J.R. Servs.. Inc. v. Aetna Cas. & Sur. Co., 895 F.2d 279,281(7th Cir. 1989).
         In a nutshell, Plaintiff argues that Defendants, given their policy of compensating
employees for certain other types of short-term leaves of absence, should be required to pay
Plaintiff for his time on short-term leave in military service. The basis for this claim, Plaintiff
argues, stems from the language of Section 4316(bX1) and the definition of the word "benefit"
within the statute at 38 U.S.C. $ 4303(2).
         Paraphrasing slightly, Section 4316(b) provides that individuals who are absent from work
due to service in the military shall be "entitled to such other rights and benefits . . . as are generally
provided by the employer" to employees who are on furlough or leave of absence "under a
contract, agreement, policy, practice, or plan in effect[.]" 38 U.S.C. $ 4316(b)(lXB). The phrase


3
    This provision reads, in relevant part:

           (b)(1). . . a person who is absent from a position of employment by reason of service in the uniformed
           services shall be-

                     (A) deemed to be on furlough or leave of absence while performing such service; and

                     (B) entitled to such other rights and benefits not determined by seniority as are generally provided
                     by the employer of the person to employees having similar seniority, status, and pay who are on
                     furlough or leave ofabsence under a contract, agreement, policy, practice, or plan in effect at the
                     commencement of such service or established while such person performs such service.




                                                        Appx95
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"rights and benefits" is defined in the statute as:

                The term "benefit", "benefit of employment", or "rights and
                benefits" means the terms, conditions, or privileges of employment,
                including any advantage, profit, privilege, gain, status, account, or
                interest (including wages or salary for work performed) that accrues
                by reason of an employment contract or agreement or an employer
                policy, plan, or practice and includes rights and benefits under a
                pension plan, a health plan. an employee stock ownership plan,
                insurance coverage and awards, bonuses, severance pay,
                supplemental unemployment benefits, vacations, and the
                opportunity to select work hours or location of employment.

 38 U.S.C. $ 4303(2). From this text, Plaintiff argues that because Defendants have a policy of
 paying out sick days and days spent on jury duty-a benefit granted to employees in those
 situations-Defendants are required to pay service members for their time in which they are absent
 from work because of military service. The argument basically has three steps. First, jury duty
 pay (for example) is a benefit within the meaning of the statute that is given to other employees.
 Second, short-term military leave is similar in nature to jury duty. Therefore, third, short-term
 military service should be treated similarly to jury duty and to withhold pay from one and not the
 other is to deprive the service members of a benefit (wages) to which they are statutorily
 guaranteed. Plaintiffs point to no controlling court that has extrapolated private, fully-paid military
 leave stemming from a business's policy of paying individuals who miss work for jury duty or due
 to illness. To support this theory, Plaintiff cites non-binding or slightly off-target authority.
          On the other side, Defendants point to clear pronouncements, including from the Seventh
 Circuit, stating that USERRA does not require private businesses to provide paid military leave.
!4. Miller v. Cit), of Indianapolis, 281 F.3d 648, 650 (7th Cir. 2002) ("USERRA prohibits
discrimination by, among other things, denying any benefit of employment on the basis of the
employee's membership in the uniformed services. It does not expressly require paid military
 leave."). Federal agencies tasked with implementing USERRA have made similar
pronouncements. E.g. 20 C.F.R. $ 1002.7(c) ("USERRA does not require an employer to pay an
employee for time away from work performing service."); 20 C.F.R. $ 1002.7(d) (2005) ("even
though USERRA does not require it, an employer may provide a fixed number of days of paid
military leave per year"); U.S. Dep't. of Justice, Employment Rights o.f the Not'1. Guard and
Reserve, pp. 3l (USERRA "requires only an unpaid leave of absence.").
         To be clear, Plaintiff is not arguing for a per se requirement that all businesses pay for
employees' short-term military leave; it is arguing that businesses like Defendants with a policy
of paying individuals to attend jury duty must pay for service members' short-term leave. This
argument lacks merit. If Congress had intended to create a statutory regime in which any company
which offers paid leave for jury duty was also required to pay for service members' leaves of
absence, it would have done so clearly. As noted above, it is well established that Congress did
not intend to create a universal requirement for private businesses to pay for reservists' absences,
and it is contrary to any reasonable interpretation to hold that the language of the statute should be
interpreted as what is essentially a de facto rule swallowing that previously clear pronouncement.
See Monroe v. Standard Oil Co. , 452 U .5. 549, 564 ( I 98 I ) ("lf Congress had wanted to impose an
additional obligation upon employers, guaranteeing that employee-reservists have the opportunity




                                               Appx96
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 to work the same number of hours, or earn the same amount of pay that they would have earned
 without absences attributable to military reserve duties, it could have done so expressly.").4
          To that end, and with the above in mind, the Court agrees with Defendants' textual analysis.
 It is contrary to the express language of the statute to hold that a business is required to pay a
 reservist wages for time not worked. Moreover, the Court disagrees with the contention that jury
 duty is comparable in nature-in the way that Congress intended-to reservist duties. Although
 both may be sporadic and uncontrollable in timing, all citizens (including those in reserve military
 roles) are subject to jury duty simply by nature of living in America, whereas military duties-
 which no doubt are honorable and likewise essential to our society-are voluntarily joined (in
 present times).
          In short, if businesses were to be required to pay for short-term military leaves of absence
 simply because they offer sick days or pay for jury duty, it is this Court's view that it is within
 Congress's discretion to make that decision, and it has not done so under the current language in
 Section 4316.
         As to Plaintiff s second claim, the Court agrees with Defendants that because Plaintiff has
not been denied a "right and benefit" to which he was entitled, he cannot state a claim.
         Finally, with respect to Count III, Plaintiff alleges that Defendants violated USERRA
 $ 4318 by failing to treat military leave as service with the employer for purposes of calculating
benefits under the Plan as required by the statute. Defendant argues that the Plan at issue is not an
"employee benefit pension plan" covered by Section 4318 and that the claim thus fails.
Specifically, Defendants argue that an "employee benefit pension plan" under Section 4318 are
limited to (l) those that qualify as pension plans under ERISA $ 3(2), 29 U.S.C. $ 1002(2) or (2)
plans of the character specifically referenced in a Department of Labor regulation codified at 20
C.F.R. $ 1002.260(a), which states that "[A]ny such [ERISA-covered] plan maintained by the
employer or employees is covered under USERRA" and states that USERRA also covers certain
pensions plans not covered by ERISA, such as those sponsored by a State, government entity, or
church for its employees." Id. The Court agrees that "such as" is a o'phrase of general similitude
indicating that there are includable other matters of the same kind which are not specifically
enumerated by the standard." Donovan v. Anheuser-Busch. Inc.,666 F.2d 3I5,327 (8th Cir.
 l98l). Put differently, because Defendants are not of a similar character to those enumerated
exceptions-and indeed, are instead a private business-the Court holds the Plan falls outside of
the type contemplated by Section 4318 and thus Plaintiff s third count is dismissed.
         In sum, each of Plaintiff s arguments fail as a matter of law, and thus the case is dismissed
with prejudice.
         IT IS SO ORDERED.




                                                     CHARLES RONALD NOR
                                                     United States District Court

DATE: July 10,2019


4
  Where Congress has sought to impose obligations on an employer to pay for military-related leave time (namely,
in the case of the federal government), it has done so explicitly. See 5 U.S.C. $ 6323(aXl).




                                                   Appx97
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ILND 450 (Rev. l0/13) Judgment in a Civil Action
                  Case: 19-2546     Document: 32         Filed: 04/17/2020    Pages: 103
                               IN THE UNITED STATES DISTRICT COURT
                                                FOR THE
                                  NORTHERN DISTRICT OF ILLINOIS

ERIC WHITE,

Plaintif(s),
                                                                   Case No. 19 C      ll4
v.                                                                 Judge CHARLES R. NORGLE

UNITED AIRLINES and UNITED
CONTINENTAL HOLDINGS, INC.

Defendant(s).

                                                   JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

          n         in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of         $      ,


                              which ! includes              pre-j udgment interest.
                                         !   does not include pre-judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendan(s).


          n         in favor of defendant(s)
                    and against plaintif(s)

          Defendant(s) shall recover costs from plaintiff(s).



          x         other: this case is dismissed with preudice.

This action was (check one):

! tried by ajury with Judge      presiding, and thejury has rendered a verdict.
     tried by Judge witlrout a jury and the above decision was reached.
     decided by JudgekDlotn a mttion to d.srrn r s5'




Date: 7ll0l20l9                                                Thomas G. Bruton, Clerk of Court




                                                              Appx98
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                       CERTIFICATE OF COMPLIANCE
This appendix complies with Circuit Rule 30(d) because all the materials required

by Circuit Rules 30(a) and 30(b) are included in the appendix.


                                             /s/ Jonathan E. Taylor
                                             JONATHAN E. TAYLOR
                                             Counsel for Plaintiff-Appellant
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                        CERTIFICATE OF SERVICE
      I hereby certify that on April 22, 2020, I electronically filed the foregoing

appendix with the Clerk of the Court for the U.S. Court of Appeals for the Seventh

Circuit by using the CM/ECF system. All participants are registered CM/ECF users

and will be served by the CM/ECF system.

                                            /s/ Jonathan E. Taylor
                                            JONATHAN E. TAYLOR
                                            Counsel for Plaintiff-Appellant
